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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA

                     - v. -                                                   S2 17 Cr. 548 (PAC)

 JOSHUA ADAM SCHULTE,

                               Defendant.

 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x




                         THE GOVERNMENT'S OMNIBUS OPPOSITION TO
                           THE DEFENDANT'S SUPPRESSION MOTIONS




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                                PRELIMINARY STATEMENT

       The Government respectfully submits this omnibus brief in opposition to defendant Joshua

Adam Schulte's motions to suppress evidence seized from (i) his residence in New York City and

certain electronic accounts (Dkt. 109) (the "Residence Motion"), and (ii) the Metropolitan

Correctional Center (Dkt. 98) (the "MCC Motion" and together with the Residence Motion, the

"Defense Motions"). For the reasons set forth below, Schulte' s motions are entirely without merit

and should be denied without a hearing. 1

        On March 7, 2017, the organization WikiLeaks.org ("WikiLeaks") began one of the most

significant disclosures of U.S. government classified information in the history of the nation and

claimed that more was coming. That disclosure, which was followed by 25 more, included

information about sensitive cyber-tools from the Central Intelligence Agency (the "CIA") that

significantly damaged the national security of the United States by not only disclosing certain CIA

intelligence-gathering methods, but also by giving hostile actors a mechanism to turn these potent

cyber weapons against the United States.          The Federal Bureau of Investigation ("FBI")

immediately began an investigation, seeking not only to catch the perpetrator, but also to stem

further disclosures and to assess precisely how large a leak had occurred.



1
 Because portions of this brief contain classified information, the Government is filing a redacted
version of this brief publicly. The Government is separately providing an unredacted copy of this
brief to the Court and defense counsel under seal.
"Res. Br." refers to the defendant's brief in support of the Residence Motion; "MCC Br." refers to
the defendant's brief in support of the MCC Motion; "Bellovin Deel." refers to the declaration of
Dr. Steven M. Bellovin in support of the Residence Motion; "Shroff Deel." refers to the
unclassified declaration of defense counsel in support of the Defense Motions; "Shroff Classified
Deel." refers to the classified declaration of defense counsel in support of the Defense Motions;
and "Ex." refers to an exhibit to this opposition brief. Exhibits K through N to this brief contain
classified information and, as a result, are being filed under seal. Exhibit O is an image of apparent
child pornography that the Government is providing to the Court for inspection under seal. Exhibit
0 is (and has previously been) available to defense counsel to review at their request.
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       Within days of the initial disclosure, the FBI secured a search warrant for Schulte's home,

among other warrants. As that warrant detailed, Schulte was a disgruntled former CIA employee

with an expertise in developing tools to covertly copy electronic data, was one of a small number

of CIA employees who had authorized access to the leaked information, had illegally manipulated

the CIA's computer systems on at least two occasions in the past to gain unauthorized access to

sensitive CIA material, had flouted CIA security protocols, and was scheduled to take only his

second trip ever out of the country shortly after the March 7 Leak by WikiLeaks. Then, during the

search of Schulte's home desktop computer, the FBI uncovered an image that depicted a child

engaged in sexual acts and sought a second search warrant, this time to seize evidence of child

pornography. But even after ultimately uncovering sufficient evidence to charge Schulte with,

among other crimes, offenses under the Espionage Act based on the WikiLeaks disclosures and

child pornography offenses, the FBI' s investigation of Schulte did not end. Instead, from a federal

detention facility, Schulte continued his "information war" against the United States, smuggling

in contraband cellphones and using encrypted email accounts to disclose and attempt to disclose

more classified information. The FBI thus executed more search warrants to determine precisely

how Schulte had continued his campaign against the United States from prison.

       Despite the urgency of this national security investigation, the FBI exercised remarkable

caution and candor in securing search warrants in this case: In the affidavit for the very first search

warrant for Schulte's home, the FBI affiant laid out a compelling case for Schulte's complicity in

the leak, but also made clear the limits of the FBI's knowledge at that time. When the FBI

discovered a single image of possible child pornography on Schulte's desktop computer, the FBI

stopped its review and sought another search warrant, even though the FBI already had a search

warrant that would have authorized them to continue to search the computer. Even during an

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urgent search of Schulte's cell at a time when the FBI suspected (correctly) that Schulte was

continuing to disclose classified materials from prison, the FBI refrained from searching

documents that purported to be privileged (most of which were not), so that a wall review team

could be put in place to protect the defendant's attorney-client privilege.

       Despite this, Schulte now seeks to suppress evidence seized pursuant to those warrants

based on a standard that has no basis in the law or the facts. Schulte claims that the first affidavit

to search his home was deliberately misleading and failed to establish probable cause, but he

ignores the actual language of the affidavit, the substantial evidence of his guilt that the affidavit

described, and the fact that the overwhelming majority of information that he claims renders the

affidavit incorrect originated after the affidavit was executed.        With respect to the child

pornography warrants, the FBI' s discovery of an illicit image on Schulte' s home computer was

ample probable cause to search for and seize any additional images of child pornography (of which

the FBI discovered thousands). Moreover, even if the child pornography warrants were deficient,

the child pornography was 'discovered in places on Schulte's home computer that the FBI

inevitably would have searched pursuant to the original espionage warrant. With respect to

evidence seized from Schulte's prison cell, the FBI followed the appropriate procedures to search

for evidence of Schulte' s "information war" while ensuring that the FBI did not intrude on

Schulte's attorney-client privilege. Finally, with respect to all of these w_arrants, because the FBI

acted in good faith, none of the seized evidence should be suppressed.

       In the end, Schulte's motion does not seek to ensure that the FBI acted honestly, which it

did. Rather, he would have the agents act as soothsayers and defense counsel, foreseeing events

that had not yet developed and indulging implausible defense theories. The law, however, does

not require that. Schulte's motions should be denied without a hearing.

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                                        BACKGROUND

       The charges in this case stem from a long-term investigation into WikiLeaks's disclosure

of classified CIA information. In particular, between March 7 and November 17, 2017, WikiLeaks

made 26 separate disclosures that included classified CIA information (the "Leaks"). The Leaks

contained, among other things, highly sensitive CIA information (the "Classified Information")

including detailed descriptions of certain CIA tools. The Leaks' impact on the CIA's intelligence

gathering activities and the national security of the United States was catastrophic.

       The FBI's investigation began immediately after WikiLeaks's initial March 7, 2017

disclosure (the "March 7 Leak"). As part of that investigation, the FBI quickly developed facts

establishing probable cause that Schulte was responsible for the theft of the Classified Information.

As a result, the FBI executed a series of search warrants on Schulte's New York City residence

(the "Residence") and electronic accounts. These included a search warrant, executed on March

13, 2017, authorizing the covert search of the Residence and the electronic media therein (the

"Covert Warrant," attached as Exhibit A); as well as warrants executed in the early morning of

March 14, 2017, authorizing the overt search of Schulte's Residence (the "Overt Warrant,"

attached as Exhibit B) and the search ofSchulte's Google, Reddit, and Github electronic accounts

(the "Electronic Accounts Warrant," and together with the Covert Warrant and the Overt Warrant,

the "Espionage Warrants"). Moreover, as part of the FBI's review of Schulte's desktop computer

and servers recovered from his Residence, the FBI developed facts establishing that Schulte was

engaged in child pornography and copyright infringement offenses. As a result, on April 14 and

May 10, 2017, the FBI executed warrants authorizing the search of electronic media seized from

the Residence for evidence of those offenses (the "Supplemental Warrants," attached as Exhibit C

and D, respectively). On May 10, 2017, the FBI executed another warrant to search Schulte's

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Google account (the "CP Electronic Account Warrant," attached as Exhibit E, and together with

the Espionage Warrants and Supplemental Warrants, the "2017 Warrants"), for evidence of

espionage, child pornography, and copyright infringement offenses.

       Based on the information gathered as part of the investigation, Schulte was charged with

espionage and other offenses related to the Leaks, as well as child pornography and copyright

offenses. See S 1 17 Cr. 548. While those charges were pending and Schulte was detained at the

MCC, the Government learned that Schulte and other inmates had cellphones (the "Contraband

Cellphones") smuggled into the prison and that Sehulte may have been using the Contraband

Cellphones to further disclose classified information.     As a result, the Government quickly

obtained a series of search warrants to investigate that conduct (the "MCC Warrants, and together

with the 2017 Warrants, the "Challenged Warrants"). These included a warrant authorizing the

search of the MCC for the Contraband Cellphones and other classified documents (the "MCC

Premises Warrant," attached as Exhibit F), as well as a subsequent warrant authorizing a wall team

to review certain of the documents seized during the search of the MCC (the "MCC Wall Warrant,"

attached as Exhibit G). Based on the evidence gathered from the MCC, the FBI executed a series

of other warrants for electronic accounts and devices Schulte used to transmit classified

information from prison (the "Encrypted Email Warrant," attached as Exhibit H, the "Social Media

Warrant," attached as Exhibit I, and the "Laptop Warrant," attached as Exhibit J).

       Based on Schulte's conduct, on October 31, 2018, the Government filed a superseding

indictment charging him with, in addition to the charges contained in the S 1 Indictment, one

additional count of unlawfully disclosing and attempting to disclose classified information and one

count of contempt of court for willfully violating a court order. See S2 17 Cr. 548 (PAC).




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I.     EVIDENCE SEIZED PURSUANT TO THE ESPIONAGE WARRANTS SHOULD
       NOT BE SUPPRESSED

       Schulte' s motion to suppress the evidence seized pursuant to the Espionage Warrants is

based entirely on his challenges to the affidavit supporting the Covert Warrant (the "Covert

Affidavit"). Schulte' s motion is meritless-most of what he claims to be false in the Covert

Affidavit is true, any purported errors in the Affidavit are nevertheless immaterial and were not

the result of an intent to deceive the magistrate judge, and, in any event, the FBI relied on the

Espionage Warrants in good faith. Schulte's motion to suppress the evidence seized pursuant to

the Espionage Warrants should be denied as a matter of law and without a hearing. 2

       A.      Relevant Background

               1.      The Covert Warrant

       In support of its application for the Covert Warrant, which was executed less than one week

after the initial March 7 Leak, the Government submitted an affidavit by Special Agent Jeff D.

Donaldson (the "Covert Affidavit").       (Ex. A).   As detailed in the Covert Affidavit, Agent

Donaldson is an experienced counterespionage investigator. (Id ,r !). The Covert Affidavit

described Agent Donaldson's work in the field of counterespionage since 2010 and his prior

experience investigating offenses involving espionage. (Id.). The Affidavit also described Agent

Donaldson's familiarity with the methods used by individuals engaged in espionage offenses,

including the use of computers. (Id.).



2
  In addition, while the Government does not believe a Franks hearing is appropriate, should the
Court hold such a hearing, the Government would establish that the evidence seized pursuant to
the Espionage Warrants would inevitably have been discovered because, as the investigation
proceeded, the FBI gathered substantially more evidence against Schulte from CIA computer
systems and documentary evidence, and it would have included that information in any subsequent
warrant applications. As a result, the inevitable discovery doctrine also applies, and this evidence
should not be suppressed on that ground as well. See infra pp. 51-52.
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       The Covert Affidavit provided substantial information establishing probable cause that

Schulte stole the Classified Information. In particular, the Covert Affidavit provided an overview

of the March 7 Leak, as well as assessments about how and when the Classified.Information was

potentially stolen. The Covert Affidavit then described the numerous facts demonstrating that

Schulte was responsible for stealing it and explained why a covert search was warranted.

                       a.      Overview of the March 7 Leak and the Potential Methods of
                               Exfiltration

       Agent Donaldson explained that on March 7, 2017, WikiLeaks had disclosed more than

8,000 documents and files that contained classified information belonging to the CIA. WikiLeaks

claimed in its accompanying press release that, among other things, the March 7 Leak constituted

the "first full part" of a series of additional releases and that the "collection" obtained by

WikiLeaks amounted to "more than several hundred million lines of code" and revealed the "entire

hacking capacity" of the CIA. (Id ,r,r 7(b)-(c), 8(a)).

       Agent Donaldson also explained that the March 7 Leak was stored on a computer network

(the "LAN") used exclusively by a particular group within the CIA (the "CIA Group"). (Id. ,r 9).

The LAN was an isolated local area computer network and was physically separated from

unsecured networks, such as the public Internet. (Id. if 9(a)). As of March 2016, fewer than 200

employees-those then assigned to the CIA Group---had access to the LAN. (Id. ,r 9).

       Agent Donaldson assessed that the March 7 Leak was likely stolen from the LAN's server

that was used to store backup data (the "Back-Up Server"). (Id. ,r 10). He explained that the CIA

Group's work was backed up through an automated process, on an approximately daily basis, to

the Back-Up Server, and that each daily backup was akin to an electronic "snapshot" of the data

on that particular date. (Id. ,r 1O(a)). Because the March 7 Leak contained numerous iterations (or



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snapshots) of the same or similar data distinguished by date, Agent Donaldson stated that the

information was likely taken from the Back-Up Server. (Id. i 1O(d)).

       With respect to the timing of the theft, Agent Donaldson stated that the March 7 Leak

"appears to have been stolen from the CIA [Group] sometime between the night of March 7, 2016

and the night of March 8, 2016." (Id. i 8(c )). This assessment was "based on preliminary analysis

of the timestamps associated with the Classified Infommtion which indicates that March 7, 2016

was the latest (or most recent) creation or modification date associated with the Classified

Information." (Id. i 8(c)); see also id. i 8(c)(iii) n.l (stating that this assessment was based on a

"preliminary analysis"). Notably, Agent Donaldson made clear that "[i]t is of course possible that

the Classified information was copied later than March 8, 2016 even though the

creation/modification dates associated with it appear to end on March 7, 2016." (Id. i 8(c)(iii)

n. l). "For example, the individual who copied and removed the data could have limited his or her

copying to data that was modified or created on or before March 7, 2016." (Id.).

                       b.      Probable Cause That Schulte Stole the March 7 Leak and That
                               Evidence Would Be Found in His Residence

       After outlining the likely timing and method of exfiltration of the March 7 Leak, Agent

Donaldson set forth facts showing that Schulte had stolen the Classified Information.

       First, Agent Donaldson explained that the LAN "was designed such that only those

employees who were specifically given a particular type of systems-administrator access

('Systems Administrators') could access the Back-Up Server" and that, as of approximately March

2016, Schulte was one of three Systems Administrators. (Id. i 11-12(a)). Agent Donaldson

caveated this information, stating that it was "possible that an employee who was not a designated

Systems Administrator could find a way to gain access to the Back-Up Server" by, for example,

stealing and using the username and password of a designated Systems Administrator or gaining
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access to the Back-Up Server by finding a "back-door." (Id. ,r ll(b) n.4). Agent Donaldson also

stated that "based on a preliminary review," the March 7 Classified Information appeared to

contain the names and/or pseudonyms of the other two Systems Administrators, as well as other

CIA employees, but not Schulte's name and/or pseudonym. (Id. ,r 12(b)). 3

       Second, Agent Donaldson explained that Schulte was present at the CIA on March 7 and

8, 2016-when the FBI assessed the Classified Information in the March 7 Leak was taken. (Id.

,r 13(a)). On March 8, several ofSchulte's colleagues at the CIA Group were away from the office
including, two of the three employees who had direct line-of-sight to Schulte's desk and computer.

(Id. ,r 13(a)-(b)). Moreover, on March 8, one of the two other Systems Administrators did not have

LAN access, while Schulte and the third administrator did have LAN access. (Id. ,r 13(d) n.5).

       Third, Agent Donaldson stated that Schulte had engaged in several unauthorized actions

on the LAN in April and May 2016, which resulted in CIA management reprimanding Schulte on

two occasions. In particular, on or about April 4, 2016, around the time Schulte was reassigned to

another branch within the CIA Group, "many of Schulte' s administrator privileges on the LAN

were revoked, and he was no longer permitted to serve as a Systems Administrator." (Id ,r 14).

Also on or about April 4, 2016, Schulte's computer access to a specific developmental project

("Project- I") was also revoked. Although Schulte retained read-only access to Project-1, principal

responsibility for Project-1 was transferred to another CIA Group employee. (Id. ,r !4(a)-(b)). 4

However, Jess than two weeks later, on or about April 11, 2016, Schulte "unilaterally and without

authorization logged onto the CIA Group's LAN and reinstated his own administrative privileges."


3 Certain CIA employees use pseudonyms to protect their identity.

4
 Agent Donaldson noted that Schulte retained read-only access to Project-I (but not the ability to
alter the code) and the ability to copy the computer code associated with it in order to support
another project for which he had responsibility. (Id ,r 14(b) n.6).
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(Id. ,r 15). 5 As a result of this conduct, on or about April 18, 2016, Schulte received a notice

regarding CIA policies against personnel restoring their own access to privileges or computer

networks after those accesses have been revoked. Schulte also signed an acknowledgment that

'"individuals are not permitted to personally attempt and/or renew their previous authorizations

[including administrator privileges] to any particular [computer] system."' (Id. ,r 15(b)). That

notice also instructed Schulte, "do not attempt to restore or provide yourself administrative rights

to any project and/or system for which they have been removed." (Id.).

       Despite the unambiguous warnings in the notice that Schulte acknowledged, a little more

than a month later, on or about May 26, 2016, Schulte received access to Project-I through another

employee and then used that access to "unilaterally and without authorization revoke the computer

access permissions of all other CIA Group employees to work on Project-I." (Id. ,r 14(c)). Once

this conduct was discovered, Schulte was issued a letter of warning that stated: "You were aware

of the policy for access and your management's lack of support for you to retain administrative

privileges, but nonetheless you took steps to deliberately violate that policy and gain those

privileges." (Id. ,r 14(c)(ii)). Agent Donaldson stated that Schulte disagreed with some of the

warning's conclusions and refused to sign the form. (Id. ,r 14(c)(iii)).

       Fourth, Agent Donaldson stated that Schulte was angry based on how the CIA responded

to Schulte's March 2016 complaint that another employee had threatened him. (Id. ,r,r 17, 18). In

particular, Schulte "expressed deep unhappiness about the way the CIA responded to the alleged

threat"; "threatened legal action against the CIA for its handling of the situation"; "repeatedly

stated that he felt that he was being punished by the CIA management for reporting the alleged


5 As the Government noted in the Disclosure Letter, while Schulte lost certain privileges to Project-

! on or about April 4, 2016 and was no longer acting as a Systems Administrator, Schulte retained
his System Administrator Privileges for some time after that.
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threat"; "informed CIA security that, if 'forced into a corner' he would proceed with a lawsuit

against the CIA"; and "repeatedly threatened that he or his lawyer would go to the media." (Id. ,i

17). Moreover, Schulte "had removed an internal CIA document from CIA facilities" about his

complaint "despite being told multiple times by CIA security officials not to do so." (Id.).

       Agent Donaldson described how many of Schulte' s former colleagues confirmed his "deep

unhappiness" and inappropriate handling of CIA information, stating "[s]ome (but not all)

colleagues independently reported that Schulte's demeanor with his management and colleagues,

and his commitment to his work, changed markedly for the worse in or around February 2016"

(id. ,i l8(a)); "[m]ultiple colleagues stated that Schulte had indicated that he felt aggrieved by the

CIA in a number ofrespects" (id. ,i 18(b)); "[s]ome also reported that they believed Schulte to be

untrustworthy and potentially subject to outside coercion" (id.); and "[s]ome (but not all)

colleagues also reported that Schulte's security practices were lax, and that Schulte tended not to

abide by security guidelines he deemed inconvenient-particularly guidelines concerning when

and what kinds of media or data (such as external drives) could be connected or uploaded to CIA

computer systems" (id. ,i 18(c)). Notably, Agent Donaldson stated that some colleagues disagreed

and "affirmatively reported that they believed that Schulte was, in fact, trustworthy." (Id. ,i 18(b)).

       Fifth, Agent Donaldson discussed the circumstances of Schulte' s resignation from the CIA

in November 2016, including a letter and email he wrote complaining about his treatment. (Id. ,i,i

19-20). On October 12, 2016, Schulte sent an email to another CIA Group employee with the

subject line "ROUGH DRAFT of Resignation Letter *EYES ONLY*," which attached a three-

page, single-spaced Jetter (the "Letter"). (Id. ,i 19(a)). In the Letter, Schulte stated that the CIA

Group management had unfairly "veiled" CIA leadership from various of Schulte's "concerns

about the network security of the CIA Group's LAN" and that "[t]hat ends now. From this moment

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forward you can no longer claim ignorance; you can no longer pretend that you were not involved."

(Id. ~ 19(a)(ii)). The Letter also stated that Schulte was resigning because management had

"'ignored'" issues he had raised about '"security concerns,"' including that the LAN was

'"incredibly vulnerable' to the theft of sensitive data." (Id. ~ 19(a)(iii)). In particular, Schulte

stated that the "inadequate CIA security measures had 'left [the CIA Group's LAN] open and easy

for anyone to gain access and easily download [from the LAN] and upload [sensitive CIA Group

computer code] in its entirety to the [public] internet."' (Id.~ 19(a)(iv)).

       Agent Donaldson noted that Schulte did not appear to send the Letter. (Id. ~ 19(b)).

However, on November 10, 2016, Schulte's last day at the CIA, Schulte sent an internal email to

the CIA's Office of Inspector General ("OIG"), which Schulte marked "Unclassified," advising

that he had been in contact with the U.S. House of Representatives' Permanent Select Committee

on Intelligence regarding his complaints about the CIA (the "OIG Email"). (Id ~ 19(c)). The OIG

Email raised many of the same complaints in the Letter, including "the CIA's treatment of him

and its failure to address the 'security concerns' he had repeatedly raised in the past." (Id ~

19(c)(i)). Although Schulte had labeled the OIG Email "Unclassified," the CIA determined that

the OIG Email did in fact contain classified information. (Id.~ 19(c)(iii)). Schulte nevertheless

printed and removed the email from the CIA when he left that day. (Id ~ 19(c)(ii)).

       Sixth, Agent Donaldson summarized communications between Schulte and some of his

former colleagues that occurred immediately after the March 7 Leak. (Id ~ 20). In particular,

Schulte repeatedly initiated contact, via telephone and text messages, with multiple of his former

CIA Group employees and, among other things, (i) repeatedly asked about the status of the

investigation (id. ~ 20(a)); (ii) requested more details on the information that was disclosed (id. ~

20(b)); (iii) asked his colleagues' personal opinions regarding who within the CIA Group stole the

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information (id. ,r 20(c)); (iv) asked what CIA Group employees were saying about the disclosure

(id.); (v) repeatedly denied involvement in the disclosure (id. ,r 20(d)); and (vi) said he believes he

is a suspect in the theft of the Classified Information in the March 7 Leak (id. ,r 20(e)).

        Seventh, Agent Donaldson stated that Schulte was scheduled to leave the country for only

the second time on March 16, 2017, with return travel booked for a few days later. (Id. ,r 21).

        Eighth, in the Covert Affidavit, Agent Donaldson made several observations based on his

previously described (and extensive) training and experience. These observations included that

individuals who engage in the unauthorized theft, retention, and transmission of classified

information "often use computers and other electronic devices to store documents and records

relating to their illegal activity." (Id. ,r 24). In particular, individuals engaged in these activities

"use electronic devices to, among other things, store copies of classified documents or materials;

engage in email correspondence relating to their illegal activity; store contact information of co-

conspirators, including telephone numbers, email addresses, and identifiers for instant messaging

and social medial accounts; and/or store records of illegal transactions involving classified

documents." (Jd.). Agent Donaldson also assessed that individuals engaged in these activities "in

the event that they change computers, will often back up or transfer files from their old computers'

hard drives to that of their new computers, so as not to lose data" (id. ,r 25), and that computer files

and their remnants "can be recovered months or even years after they have been downloaded onto

a hard drive, deleted, or viewed via the Internet (id. ,r 27). Agent Donaldson also stated that

Schulte's credit card records and surveillance confinned that he lived at the Residence. (Jd. ,r 23).

                        c.      Necessity for the Covert Search of the Residence

         The Covert Affidavit also sought authorization to search the Residence without advanced

notice to Schulte. In support of this request, Agent Donaldson restated his belief, based on the

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foregoing sections, that Schulte had "stolen a substantial amount of classified information and

transmitted that infmmation to those not authorized to receive it, thereby endangering the nation's

national security." (Id. ~ 37(a)). Moreover, Agent Donaldson stated that Schulte "likely engaged

in these activities by using sophisticated computer skills to exfiltrate a substantial amount of data

onto a removable drive and then covertly removed that drive from the CIA." (Id. ~ 37(b)). As a

result, providing Schulte advance notice of the search "may allow him to destroy evidence of his

crimes on electronic devices by, for example, deleting drives or activating encryption programs

that would make his devices virtually impossible to access." (Id.~ 37(c)).

       In support of this request, Agent Donaldson discussed the nature of the investigation at the

time. In particular, he stated that the investigation "is on-going, and remains extremely sensitive"

and that "[t]he FBI is continuing to review an enormous volume of electronic evidence, much of

which remains highly classified and extremely sensitive." (Id. ~ 39). Moreover, based on

WikiLeaks' s press release, Agent Donaldson assessed that additional CIA information may have

been stolen and provided to WikiLeaks or others. This assessment was based on the fact that

WikiLeaks had "claimed to have refrained from publishing additional information they purport to

possess such as armed cyberweapons" and also claimed to have anonymized some identifying

infonnation potentially relating to the names of covert CIA operatives and possibly covert United

States Government locations. (Id.). Based on this information, and the fact that Schulte was

expected to travel overseas imminently, Agent Donaldson sought covert authorization "to

minimize the possibility" that Schulte would flee or destroy evidence. (Id.).

               2.      The Overt Warrant and Subsequent Disclosures

       On March 13, 2017, after the Covert Warrant was signed, FBI agents covertly entered the

Residence and observed, among other things, computers, servers, and other electronic devices (the

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"Electronic Devices"). Because forensically imaging the Electronic Devices would have taken

significant time and risked alerting Schulte to the investigation, law enforcement officers

terminated the search. Although the Covert Warrant authorized the FBI to search the Residence

overtly if necessary (Ex. A~ 37 (requesting authorization to search the Residence covertly "or if

[law enforcement] deem[s] covert execution impracticable to execute the search warrant overtly

without further order of the Court")), Agent Donaldson nevertheless sought the Overt Warrant out

of an abundance of caution. The Overt Warrant was signed during the early morning hours of

March 14, 2017, and the FBI executed the warrant the same day.

       On September 18, 2018, the Government sent a letter to Schulte (the "Disclosure Letter")

in which the Government noted that it had developed information through its ongoing investigation

after Agent Donaldson swore to the Covert Affidavit that was relevant to some of the statements

in the Covert Affidavit. (Shroff Dec!., Ex. F).

       B.      Applicable Law

               1.      The Standard for Reviewing Probable Cause

       Consistent with the Fourth Amendment, a search warrant must "describe with particularity

the place to be searched and the persons or things to be seized." United States v. Rosa, 626 F.3d

56, 61 (2d Cir. 2010). In considering a request for a search warrant, "[t]he task of the issuing

magistrate is simply to make a practical, common-sense decision whether, given all the

circumstances set forth in the affidavit ... , there is a fair probability that contraband or evidence

of a crime will be found in a particular place." Illinois v. Gates, 462 U.S. 213, 238 (1983). Such

determinations must be approached in a practical way, id. at 231-32, because "probable cause is a

flexible, common-sense standard," Texas v. Brown, 460 U.S. 730, 742 (1983). Moreover, the

training and experience of law enforcement agents bear significantly on probable cause

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determinations. See Gates, 462 U.S. at 232. Inferences drawn by law enforcement agents based

on facts known to them, the totality of the circumstances, and their training and experience may

all support a probable cause finding. Id at 231-32; see also United States v. Gaskin, 364 F.3d 438,

457 (2d Cir. 2004) ("[C)ourts recognize that experience and training may allow a law enforcement

officer to discern probable cause from facts and circumstances where a layman might not.").

       Once a search warrant has issued, the issuing judge's "determination of probable cause

should be paid great deference by reviewing courts." Gates, 462 U.S. at 236 (internal quotation

marks omitted). "[A]fter-the-fact scrutiny by courts of the sufficiency of an affidavit should not

take the form of de novo review." Id. Thus, '" [a]lthough in a particular case it may not be easy to

determine when an affidavit demonstrates the existence of probable cause, the resolution of

doubtful or marginal cases in this area should be largely determined by the preference to be

accorded to warrants."' United States v. Smith, 9 F.3d 1007, 1012 (2d Cir. 1993) (quoting United

States v. Ventresca, 380 U.S. 102, 109 (1965)). "[S]o long as the magistrate had a 'substantial

basis for . . . conclud[ing]' that a search would uncover evidence of wrongdoing, the Fourth

Amendment requires no more." Gates, 462 U.S. at 236 (quoting Jones v. United States, 362 U.S.

257,271 (1960)); see also United States v. Singh, 390 F.3d 168, 181 (2d Cir. 2004) ("In reviewing

a magistrate's probable cause determination, we accord substantial deference to the magistrate's

finding and limit our review 'to whether the issuing judicial officer had a substantial basis for the

finding of probable cause."' (quoting United States v. Wagner, 989 F.2d 69, 72 (2d Cir. 1993)).

               2.      The Franks Doctrine

       A search warrant affidavit is presumed reliable. Franks v. Delaware, 438 U.S. 154, 171

(1978). Undrr Franks, "[t]o suppress evidence obtained pursuant to an affidavit containing

erroneous information, the defendant must show that: '(1) the claimed inaccuracies or omissions

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are the result of the affiant' s deliberate falsehood or reckless disregard for the truth; and (2) the

alleged falsehoods or omissions were necessary to the [issuing] judge's probable cause finding."'

United States v. CaY!field, 212 F.3d 713, 717-18 (2d Cir. 2000) (citing Franks, 438 U.S. at 164-

172).   The defendant must establish both components-i. e., materiality and intent-by a

preponderance of the evidence. See United States v. Klump, 536 F.3d 113, 119 (2d Cir. 2008).

"The Franks standard is a high one." Rivera v. United States, 928 F.2d 592, 604 (2d Cir. 1991).

        The intent component of the Franks inquity is a "subjective test" that "looks to the mental

states of mind of government officials." United States v. Rajaratnam, 719 F.3d 139, 153 (2d Cir.

2013) (reversing suppression order "because the District Court failed to consider the actual states

of mind of the wiretap applicants"). The defendant must present "credible and probative evidence"

that any misrepresentations and omissions were "'designed to mislead'" or were '"made in reckless

disregard of whether [they] would mislead."' Id. at 154 (quoting United States v. Awadallah, 349

F.3d 42, 68 (2d Cir. 2003)). "To prove reckless disregard for the truth, the defendant[] [must]

prove that the affiant in fact entertained serious doubts as to the truth of his allegations." Id.

(quoting United States v. Whitley, 249 F.3d 614,621 (7th Cir. 2001)). Findings of"misstatements

or omissions caused by 'negligence or innocent mistake[s ]' do not warrant suppression." Id. at

153 (quoting Franks, 438 U.S. at 171).

        Because "[a]ll storytelling involves an element of selectivity," Wilson v. Russo, 212 F.3d

781, 787 (3d Cir. 2000), '"[a]n affiant cannot be expected to include in an affidavit every piece of

information gathered in the course of an investigation,"' Awadallah, 349 F.3d at 67-68 (quoting

United States v. Colkley, 899 F.2d 297, 300-01 (4th Cir. 1990)). Thus, "Franks claims based on

omissions are less likely to justify suppression than claims of intentionally or recklessly false

assertions." United States v. Vilar, 2007 WL I 075041, at *27 (S.D.N.Y. 2007).

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       The materiality of an error in a search warrant affidavit is "gauge[d] ... by a process of

subtraction: To determine if the false information was necessary to the issuing judge's probable

cause determination, i.e., material, 'a court should disregard the allegedly false statements and

determine whether the remaining portions of the affidavit would support probable cause to issue

the warrant.' If the corrected affidavit supports probable cause, the inaccuracies were not material

to the probable cause determination and suppression is inappropriate." Awadallah, 349 F.3d at 64

(citing Canfield, 212 F.3d at 718). "The ultimate inquiry is whether, after putting aside erroneous

information and material omissions, there remains a residue of independent and lawful information

sufficient to support probable cause." Id. (internal quotation marks omitted).

       Even to merit a hearing on the issue, a defendant must make '"a substantial preliminary

showing' that a 'deliberate falsehood' or a statement made with 'reckless disregard for the truth'

was included in the warrant affidavit, and the statement was 'necessary to the judge's probable

cause finding."' United States v. Falso, 544 F.3d 110, 134 (2d Cir. 2008) (quoting United States

v. Salameh, 152 F.3d 88, 113 (2d Cir. 1998)); see United States v. Carter, 2009 WL 765004, at *2

(2d Cir. 2009) ("Carter was not entitled to a hearing because he made no substantial preliminary

showing that a deliberate falsehood or statement made with reckless disregard for the truth was

included in the warrant affidavit and the statement was necessary to the judge's finding of probable

cause." (internal quotation marks omitted)). "The burden to obtain such a hearing is a heavy one,

and such hearings are exceedingly rare." United States v. Melendez, 2016 WL 4098556, at *7

(S.D.N.Y. 2016); see also Franks, 438 U.S. at 171-72 ("To mandate an evidentiary hearing, the

challenger's attack must be more than conclusory and must be supported by more than a mere

desire to cross-examine. There must be allegations of deliberate falsehood or of reckless disregard

for the truth ... accompanied by an offer of proof."); United States v. Keith, 2016 WL 1644370,

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at *2 (S.D.N.Y. 2016) ("Because materiality, which turns on the existence of probable cause, is a

legal question, resolving whether information allegedly omitted from a search warrant application

was material does not require an evidentiary hearing.").

               3.      Particularity and Overbreadth

       The particularity requirement of the Fourth Amendment "guards against general searches

that leave to the unguided discretion of the officers executing the warrant the decision as to what

items may be seized." United States v. Riley, 906 F.2d 841, 844 (2d Cir. 1990). The requirement

is directed at ensuring that the warrant enables "the executing officer to ascertain and identify with

reasonable certainty those items that the magistrate has authorized him to seize." United States v.

George, 975 F.2d 72, 75 (2d Cir. 1992).

               [C]ourts may tolerate some ambiguity in the warrant so long as "law
               enforcement agents have done the best that could reasonably be expected
               under the circumstances, have acquired all the descriptive facts which a
               reasonable investigation could be expected to cover, and have insured that
               all those facts were included in the warrant."

United States v. Galpin, 720 F.3d 436, 446 (2d Cir. 2013) (quoting United States v. Young, 745

F.2d 733, 759 (2d Cir. 1984)).

       The particularity requirement consists of three essential components. "First, a warrant

must identify the specific offense for which the police have established probable cause." Galpin,

720 F.3d at 445. Second, the warrant must describe the place to be searched. Id. at 446. Finally,

the warrant must "specify the items to be seized by their relation to designated crimes." Id.

       Those categories of evidence particularly described in a warrant must also be supported by

probable cause to ensure that the warrant is not overly broad.               Thus, "[a]n otherwise

unobjectionable description of the objects to be seized is defective if it is broader than can be

justified by the probable cause upon which the warrant is based." Id. (internal quotation marks

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omitted); see United States v. Lustyik, 57 F. Supp. 3d 213, 228 (S.D.N.Y. 2014) ("[T]he

overbreadth inquiry asks whether the warrant authorized the search and seizure of items as to

which there was no probable cause." (internal quotation marks omitted)).

        C.     Discussion

                1.     The Covert Affidavit Was Not Misleading

        The vast majority of the statements in the Covert Affidavit that Schulte claims are

misrepresentations are, in fact, true, and, as a result, do not support suppression. See United States

v. Lahey, 967 F. Supp. 2d 698, 716 (S.D.N.Y. 2013) (Franks relief not warranted because the

defendant "failed to prove that [the challenged paragraph] even contains a misrepresentation or an

omission"); United States v. Tufaro, 593 F. Supp. 476, 483 (S.D.N.Y. 1983) (same).

        First, Schulte's assertion that Agent Donaldson's statement that the Classified Information

"appears to have been stolen from the CIA Component sometime between the night of March 7,

2016 and the night of March 8, 2016," is false ignores the actual language of the Affidavit. (See

Ex. A ,r,r 8(c), 10, & 13). In assessing that the Classified Information "appears"to have been stolen

between March 7 and 8, 2016, Agent Donaldson described the methodology used to arrive at that

conclusion-namely a comparison of dates of the records in the Classified Information with data

stored on the LAN-but cautioned that that assessment was "preliminary," i.e., subject to change.

Agent Donaldson also stated that despite the FBI's "preliminary" assessment, it was also possible

that the Classified Information was stolen later (see id. n. l ), which tracks the information provided

in the Disclosure Letter that the Classified Information was actually stolen in April 2016. Agent

Donaldson accurately described the state of the investigation: Based on the analysis done to that

point, it appeared that the Classified Information was stolen between March 7 and 8, a time-period




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during which Schulte had an opportunity to steal the Classified Information without detection, but

that further investigation could show that the Classified Information was stolen later.

       Schulte entirely ignores Agent Donaldson's cautionary language, arguing instead that (i)

in the Disclosure Letter, the Government stated that Schulte took the Classified Information in

April 2016 (rather than between March 7 and 8, 2016); and (ii) a CIA analyst (the "Analyst'') stated

that the March 7 timestamp analysis was incorrect. Schulte's criticism misses the mark, however,

because none of this information was available to Agent Donaldson before he swore out the Covert

Affidavit. Maryland v. Garrison, 480 U.S. 79, 85 (1987) ("Those items of evidence that emerge

after the warrant is issued have no bearing on whether or not a wan·ant was validly issued.").

       For example, the FBI' s conclusion that Schulte stole the Classified Information in April

2016 is based on a review of all of the Classified Information disclosed by WikiLeaks, not just the

data that was disclosed in the March 7 Leak, as well as a review of a tremendous volume of forensic

material at the CIA. WikiLeaks made 25 disclosures containing CIA data after the date of the

Covert Affidavit. Those subsequent disclosures showed, among other things, that the Classified

Information contained materials created in different places and stored in different files on the LAN,

facts that are critical to determining from where, how, and when the Classified Information was

stolen. Moreover, as of the date of the Covert Affidavit, and as that affidavit made clear, the FBI

was "continuing to review an enormous volume of electronic evidence" from the CIA (Ex. A ,r

39), which shed light on how the Classified Information was stolen.

       Similarly, the interview of the Analyst confirms that the CIA's initial assessment, like the

FBI's, was that the Classified Information was stolen between March 7 and 8, 2016. (See Shroff

C. Deel., Ex. I). But the interview also shows that it was not until March 22, 2017, more than a

week after the date of the Covert Affidavit, that the Analyst reported to the FBI that additional

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investigation had contradicted that initial assessment. Agent Donaldson could not have known on

March 13, of course, that subsequent investigation would reveal the timing analysis in the Covert

Affidavit was wrong, but he nevertheless guarded against that possibility by alerting the magistrate

judge to the "preliminary" nature of the timing analysis in the Covert Affidavit and acknowledging

that the Classified Information could have been stolen later. By demanding suppression based on

information in the Disclosure Letter and the Analyst's interview, Schulte asks the Court not to

impose a standard of honesty on the FBI, but rather one of clairvoyance.

       Second, Schulte argues that Agent Donaldson's assessment that the Classified Information

was "likely" stolen from the back-up files housed on the Back-Up Server was false. Again, Schulte

ignores the actual contents of the Covert Affidavit. Looking at the entirety of the Affidavit, Agent

Donaldson set forth several facts that establish that Schulte likely stole the Classified Information,

including that Schulte was a disgruntled employee who had illegally manipulated CIA computer

systems in the past to gain unauthorized access to sensitive CIA material, flouted CIA security

protocols, displayed a guilty conscience, and planned to leave the country shortly after the March

7 Leak. Agent Donaldson also described how Schulte was one of a few CIA employees who had

access to the Classified Information through the Back-Up Server. Against this backdrop-in

which Schulte was a prime suspect and had access to the Back-Up Server-Agent Donaldson

expressed his assessment that it was "likely" that the Classified Information came from the Back-

up Server because (i) data was backed up daily to the back-up files on the Back-Up Server; (ii) the

resulting back-up files contained a "snapshot" of the data on the LAN from each day; (iii) the back-

up file thus contained multiple iterations of the same or similar data; (iv) the Classified Information

similarly contained multiple iterations of the same or similar data; and (v) individuals familiar with

the LAN stated that it was "difficult, if not impossible" to copy these different iterations from any

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place on the LAN other than the Back-Up Server. (Ex. A ,r l 0). Considering all of these facts

together, and in light of Agent Donaldson's years of experience doing national security

investigations, his assessment that the Classified Information was "likely" stolen from the Back-

Up Server should be credited. See United States v. Saipov, 17 Cr. 722 (VSB), Dkt. # 189 (S.D.N.Y.

July 11, 2019) ("The experience of the law enforcement agents involved in preparing the warrant

application is particularly relevant to the analysis, as 'experience and training may allow a law

enforcement officer to discern probable cause from facts and circumstances where a layman might

not."' (quoting Gaskin, 364 F.3d at457)); United States v. Delossantos, 536 F.3d 155, 161 (2d Cir.

2008) (same); United States v. Fama, 758 F.2d 834,838 (2d Cir. 1985) (same).

       Schulte does not challenge that the Classified Information was taken from a back-up file,

but instead argues that the back-up files were also stored at an offsite location (the "Offsite

Server"), based on a network diagram of the LAN, and that, in one CIA Group contractor's

opinion, the "easiest" way to steal those back-up files was from the Offsite Server. None of this

information, however, renders Agent Donaldson's assessment misleading. Initially, while it is true

that the back-up files were also stored in an Offsite Server, Agent Donaldson never suggested that

the only place that the back-up files existed was the Back-up Server. Nor did Agent Donaldson

opine in the abstract on the easiest method of exfiltrating the Classified Information from the LAN.

Rather, he merely stated that it was "likely" that the Classified Information had come from the

Back-Up Server, an eminently reasonable conclusion, given that the Back-Up Server contained

the back-up files that mirrored the Classified Information, and Schulte-whom the FBI properly

identified as a likely perpetrator of the theft-had access to it. Gates, 462 U.S. at 230-31 (courts

do not isolate each factor of suspicion but look at the totality of the circumstances). The opinion

of the contractor-who did not have access to all of the information and who had no relevant

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investigatory experience-in no way undermines that assessment, particularly when (i) that

opinion is contradicted by                    , a LAN system administrator and a witness upon

whom Schulte relies in his motion, who stated that "the easiest way to steal the data leaked by

WikiLeaks" was for someone with administrative access to the LAN to "simply remov[e] the back-

up file from the network application" (i.e., the Back-Up Server) (Shroff C. Deel., Ex. I); and (ii)

even if the contractor's opinion was relevant, it was not conveyed to the FBI until February 2018,

nearly a year after the date of the Covert Affidavit, see Garrison, 480 U.S. at 85.

       Third, Schulte also claims that Agent Donaldson misstated how the back-up files were

created by describing it as an "automated process," because, in the Disclosure Letter, the

Government noted that this "automated process" had to be "manually initiated." An "automated

process" is still "automated," however, even though a person has to initiate it; an ATM-or

"Automated Teller Machine"-is no less "automated" simply because a person has to enter a debit

or credit card and command prompts. So too with the LAN' s back-up process-even though a

person had to start the process, it nevertheless was automatically completed, and thus was

"automated." Schulte's argument is nothing more than semantic quibbling.

       Fourth, Schulte argues that Agent Donaldson was wrong when he stated that "less than

200 people had access to the CIA Group's LAN on which the Classified Information was stored."

(Ex. A ,r 9). Schulte does not dispute that the CIA Group was responsible for using and maintaining

the LAN, that as of March 2016 fewer than 200 employees were assigned to the CIA Group, or

that only these employees had access to the LAN. (See id. ,r 8(b)). Rather, Schulte argues that

Agent Donaldson failed to note in the Covert Affidavit that a second CIA group ("CIA Group-2"),

                                                           , allegedly also had access to the LAN.

The reason for that omission is simple-Schulte's assertions about CIA Group-2's access to the

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LAN are untrue




                                           In short, Schulte is simply wrong.

       To the extent Schulte argues t h a t - security measures could have been or were

breached by a CIA Group-2 employee, Schulte has pointed to no evidence in support of that claim

or that shows Agent Donaldson was aware of any such evidence when he swore to the Covert

Affidavit. Franks, 438 U.S. at 171" (defendant must provide "statement of supporting reasons,"

together with supporting affidavits or witness statements).




                                            Schulte has, of course, failed to submit an affidavit

attesting to those facts, which are presumably within his personal knowledge given that he was a

LAN administrator. United States v. Barrios, 2!0 F.3d 355 (2d Cir. 2000) (no evidentiary hearing

required regarding a motion to suppress evidence from a search where the defendant failed, among

other things, to submit an affidavit from "someone alleging personal knowledge of the relevant

facts"). In any event, Agent Donaldson did note that an "employee lacking System Administrator

access could, at least theoretically, gain access to the Back-Up Server by finding a 'back-door'




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into the Back-up Server," (Ex. A 1 ll(b) n.4), tbus flagging for tbe magistrate judge that any

number of CIA employees could have accessed the Back-Up Server without authorization.

       Fifth, Schulte contests Agent Donaldson's statement that one had to be a System

Administrator to access tbe back-up files on tbe Back-Up Server. (Id 1 11). Schulte's argument

is based on a distorted reading of the Covert Affidavit. Agent Donaldson said that System

Administrators were a limited group of employees-of which Schulte was one-who had been

given access to the Back-Up Server. Schulte does not dispute that statement, but claims tbat tbere

were means through which non-System Administrators could have stolen the back-up files from

tbe LAN, citing to



                                                        Setting aside that tbis interview occurred a

month after the date oftbe Covert Affidavit and thus is irrelevant to the motion, see Garrison, 480

U.S. at 85, the Covert Affidavit is entirely consistent with -                  statement.   Agent

Donaldson stated in the Covert Affidavit that "[i]t is, of course, possible that an employee who

was not designated Systems Administrator could find a way to gain access to the Back-Up Server,"

and gave two examples of ways that could happen (Ex. A 111 (b) n.4), tbus notifying the magistrate

judge that an employee without System Administrator access could have stolen the back-up files,

i.e., the very information Schulte claims Agent Donaldson withheld.

       Sixth, Schulte argues that Agent Donaldson was misleading by stating that WikiLeaks

disclosed other System Administrator's names or pseudonyms, but not Schulte's, because in one

of the Leaks, WikiLeaks disclosed Schulte's usemame, "Schu!Jo." Schulte's claim bizarrely

equates a person's usemame with their actual name. Agent Donaldson did not refer to Schulte's




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usemame in the Covert Affidavit; he stated only that Schulte's name did not appear in the initial

Leak, which is true. Simply put, the public would have no idea that "Schu!Jo" was Joshua Schulte.

        Schulte' s argument fails for a second and equally fatal reason, which is highlighted by

Schulte's dismissive claim that a simple "text search" would have shown that Schulte's usemame

appeared in the Classified Information. That is true, but that same text search would also show

that Schulte's username does not appear until a disclosure dated March 31, 2017, i.e., two weeks

after the date of the Covert Affidavit. 6 See Garrison, 480 U.S. at 85. Schulte's criticism is

essentially that Agent Donaldson failed to see the future.

               2.      Any Errors Were Not Material

        Schulte's motion fails for the additional reason that none of the alleged errors in the Covert

Affidavit is material. To determine whether the purported errors in the Covert Affidavit are

material, the Court should disregard the alleged false statements and add in any allegedly damaging

omitted information and determine whether the affidavit nevertheless contains probable cause for

the search. See Awada!lah, 349 F .3d at 64. Here, even without the statements that Schulte claims

are inaccurate, the Covert Affidavit still lays out, at a minimum, Schulte's access to the Classified

Information, his motive to harm the CIA, his willingness to manipulate the CIA' s computer system

and its access controls, and his consciousness of guilt. Those facts are more than enough to support

probable cause and thus, Schulte's motion should be rejected. See Klump, 536 F.3d at 119.


6
  If a user manipulates the March 7 Leak, the user can see Schulte' s username. Specifically, one
part of that disclosure contains multiple versions of a certain file. Some but not all of those
versions display a hyperlink that, if a user hovers a mouse pointer over the link, shows a file path
that includes Schulte's usemame as part of the file path. Other versions show that Schulte's
usemame was redacted by WikiLeaks. Thus, in order to view Schulte' s usemame, one would have
to: (i) navigate to the specific file where the username appears; (ii) navigate to the specific version
of that file where the username appears and is not redacted; and (iii) hover over the correct
hyperlink so that the usemame is visible. Screenshots of this effect are attached as Classified
Exhibit K. These instances of Schulte's username do not appear in response to a word search.
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        As described in the preceding section, much of what Schulte claims to be false in the Covert

Affidavit is plainly true. The only actual errors in the Covert Affidavit are (i) Schulte was an

administrator for the specific part of the Back-up Server that contained the back-up files, instead

of the entire Back-Up Server; (ii) Schulte was one of at least five such administrators, as opposed

to three; and (iii) Schulte's illegal restoration of his administrative privileges occurred with respect

to a different CIA program than the one described in the Covert Affidavit and happened on or

about April 14, 2016, instead of April 11, as stated in the Affidavit. Correcting these errors,

however, does not undermine the probable cause in the Covert Affidavit.

        First, though Schulte was an administrator for only part of the Back-Up Server, as opposed

to the Back-Up Server as a whole, he was the administrator for the part of the Back-Up Server that

housed the back-up files from where the Classified Information was likely stolen, meaning that he

still had access to the stolen data. Second, that Schulte was one of at least five employees, as

opposed to three, with authorized access to that specific part of the Back-Up Server does not

change that Schulte was one of a small pool of CIA employees with that type of access. Third,

regardless of the specific program to which Schulte restored his access, or when he did so, the fact

remains that Schulte manipulated CIA computer systems without authorization to gain access to

sensitive CIA material. Even as corrected, these facts continue to show that Schulte was a rogue

CIA employee with the opportunity to steal the Classified Information.
                                                  \

        While these facts, standing alone, may be sufficient for probable cause, the Covert

Affidavit contains much more support, describing how Schulte (i) had a motive to harm the CIA

because he was angry at how the CIA had handled his complaint against a colleague, to the point

that Schulte threatened to go to the media (Ex. A ,r,r 17-18); (ii) secured unauthorized access to a

CIA project in a deceitful manner again in May 2016 and then promptly used that access to harm

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the CIA by preventing other employees from working on the project (see id. ,r !S(c)); (iii) flouted

CIA security protocols by connecting removable media to the LAN and by removing a document

from the CIA, despite being told not to (see id. ,r,r 17 & 19(c)); (iv) drafted a purported "resignation

email," in which he claimed essentially that he had warned CIA management about security

concerns with the LAN7 that were so significant that the LAN' s contents could be posted online-

precisely what happened four months later (see id. ,r 19); and (v) demonstrated a guilty conscience,

specifically through his persistent inquiries to his former colleagues about the investigation on the

day of the initial Leak (including his suspicion that he was a target of the investigation) and his

travel out of the country (for only the second time) shortly after the initial Leak (see id. ,r,r 20-21).

When combined with the corrected facts describing Schulte' s access and illegal activity on the

LAN in April 2016, these facts are more than sufficient to establish probable cause.

          Schulte does not challenge the truth of these assertions in his motion, but instead argues

that there are innocent explanations for these actions. (See Res. Br. 19). "The fact that an innocent

explanation may be consistent with the facts alleged ... does not negate probable cause." Klump,

536 F.3d at 120 (citation omitted). Moreover, Schulte's explanations do not make these facts any

less suspicious. For example, while it is true that Schulte lost his access to a CIA project because

he was moved to another part of the CIA Group, that does not explain why Schulte then illegally

restored his access to that project. Schulte also claims that the fact that he was upset at the Agency

when he left does not play into probable cause, but of course, those facts demonstrate a motive to

harm the Agency. Finally, Schulte claims that his intense interest in the investigation following

the initial Leak was not suspicious because he was employed by the CIA Group, but that does not

explain why Schulte would believe he was a target of the investigation. Even as corrected, the


7
    There is no record of Schulte reporting any such security concerns to CIA management.
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Covert Affidavit establishes probable cause, and thus, the errors are not material. See, e.g., Lahey,

967 F. Supp. 2d at 712 (finding alleged misrepresentations immaterial because even without them,

the remaining allegations established probable cause that defendant engaged in criminal activity).

       Furthermore, rewriting the Covert Affidavit to fully incorporate Schulte' s purported

deficiencies would not support suppression because it would not change the aforementioned facts.

While stripping out the timing analysis in the Covert Affidavit and all the facts showing how

Schulte essentially had unmonitored access to the LAN on March 8, 2016 eliminates one

particularly ripe opportunity for Schulte to have stolen the Classified Information, it remains true

that Schulte had access to the Classified Information, and thus the chance to steal it, at other points

as well. Similarly, inserting the facts that Schulte claims were improperly omitted-namely that

a contractor believed that it was easier to steal the Classified Information from the Offsite Server,

that an employee without Schulte' s level of access could have stolen the Classified Information,

that the back-up process was not fully automated, or that WikiLeaks also (at some later date)

disclosed Schulte's, usemame-would not change the facts establishing Schulte's complicity,

including his motive, access to the Classified Information, disregard for CIA's security protocols,

illegal manipulation of the CIA's computer systems, and demonstration ofa guilty conscience.

       Thus, even if the Covert Affidavit was rewritten to Schulte's (incorrect) specifications, it

would still establish probable cause by showing that Schulte was a CIA employee with a grudge

against the CIA and a track record of improperly accessing and taking classified info11nation, who

left the CIA claiming that classified information from the LAN would one day be sprayed across

the Internet and who wo11·ied about the investigation when his "prophecy" came to pass. The

corrected Covert Affidavit thus provides overwhelming evidence of Schulte's guilt, including

evidence which has no innocent explanation, and thus stands in stark contrast to the affidavits

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found lacking in the cases relied upon by Schulte. See United States v. Reilly, 76 F.3d 1271, 1279

(2d Cir. 1996) (good faith exception did not apply where warrant failed to disclose information

about the property on which the defendant was growing marijuana plants, which was relevant to

curtilage issue); Lahey, 967 F. Supp. 2d at 724 (omitted information specifically showed that

activity in which defendant was engaged was innocent); United States v. Padilla, 986 F. Supp.

163, 168 (S.D .N .Y. 1997) ("bulk" of complaint was wrong, and remaining information was simply

that defendant drove another person to a narcotics transaction); United States v. Big Apple Bag

Co., 306 F. Supp. 2d 331,334 (E.D.N.Y. 2004) (affiant claimed to see "thousands" of items used

for narcotics trafficking when in fact the affiant saw only three); United States v. Roman, 311 F,

Supp. 3d 427, 439 (D. Mass 2018) (affidavit claimed that narcotics transaction occurred at

defendant's property, when illegal transaction actually occurred at source's business).

               3.      Any Errors Were Not Deliberate

       Even assuming arguendo that the Covert Affidavit contains material misrepresentations or

omissions, Schulte fails to make a "substantial preliminary showing" that these purported errors

were deliberate or recklessly made, as he must to prevail on his motion, or even to secure a hearing.

See Falso, 544 F.3d at 134. To be clear, Schulte does not offer a single fact that shows that the

agents who conducted this investigation intentionally misstated anything in the Covert Affidavit.

Instead, he claims that these "errors" must have been deliberate or at least reckless because,

according to him, the errors all '" dr[ o]ve in the same direction: establishing a connection' between

Mr. Schulte and the theft of classified information, 'which connection the fuller evidence did not

support."' (See Res. Br. 20-21 (quoting Lahey, 967 F. Supp. 2d at 723)). Schulte is wrong.

       In the short period of time between the initial Leak and the execution of the Covert

Affidavit, the FBI had already amassed a substantial volume of evidence that Schulte was the

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perpetrator, more than justifying the FBI's need to obtain a warrant to search his home. See supra

pp. 7-15. Moreover, given the gravity of the Leaks, there was tremendous urgency to find the

leaker, to attempt to stop further unlawful dissemination, and to determine what had already been

transmitted to WikiLeaks and thus mitigate the significant national security harm already caused.

Accordingly, the FBI could not wait for the investigation to unfold fully before acting.

       To be sure, as the investigation developed, the FBI obtained information that some of the

statements in the Covert Affidavit were incorrect, albeit in immaterial ways. See supra pp. 28-31.

The caution and candor displayed by Agent Donaldson in the Covert Affidavit, however, undercuts

any contention that there was a deliberate intention to mislead the magistrate judge. In the Covert

Affidavit, Agent Donaldson made clear to the magistrate judge that the FBI' s assessments at the

time were preliminary and subject to change. (Ex. A ,i 8(c)(i)). With respect to the timing of the

theft, Agent Donaldson laid out the facts that led to his "preliminary" view that the Classified

Information was stolen between March 7 and 8, 2016, and went on to note that on March 8, Schulte

had a particularly ripe opportunity to steal the Classified Information. (Id.). But Agent Donaldson

also made sure to disclose the fact that the data could have been taken on a later date as well (id. ,i

8(c)(iii) n.l), which would render Schulte's opportunity on March 8 irrelevant. Similarly, Agent

Donaldson explained how System Administrators like Schulte had specialized access to the Back-

Up Server, but noted that it was only "likely" that the Classified Information had been stolen from

the Back-Up Server (id. ,i,i 10-11), and that, in any event, a non-System Administrator could have

stolen the data as well (id. ,i,i lO(d) n.3). Moreover, Agent Donaldson, in reporting Schulte's

colleagues' views of Schulte, went out of his way to note that some of Schulte' s colleagues thought

he was trustworthy and that some of his colleagues did not report any concerns about Schulte's

security practices. (Id. ,i 18). Even crediting Schulte's breathless description of the purported

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significance of the "errors" in the Covert Affidavit, Agent Donaldson's determined effort to ensure

that the magistrate judge knew the whole truth is inconsistent with the requisite subjective intent

to mislead. See Rajaratnam, 719 F.3d at 154 (defendant must show affiant had the subjective

intent to mislead and not simply that affiant omitted "critical" information or information that a

reasonable person would have included).

       None of the cases upon which Schulte relies supports his argument that Agent Donaldson

deliberately tried to mislead the magistrate judge or recklessly disregarded the truth. In Reilly, 76

F .3d at 1280, the Second Circuit found that the good faith exception did not apply because the

officer's description of the land to be searched was "calculated to mislead." Here, it is simply

implausible that Agent Donaldson made a "calculated" decision to deceive the magistrate judge,

but still described facts that could undercut the probable cause. See supra pp. 7-15. In Lahey, the

court found that the affiant recklessly made misrepresentations because the misrepresentations led

to the conclusion that the full record belied. See 967 F. Supp. 2d at 722. Here, even crediting the

purported misrepresentations or omissions Schulte claims, the remainder of the evidence is clearly

consistent with Schulte's guilt and easily supports probable cause to search the Residence. See

supra pp. 27-31. And in Roman, the court found that the affidavit omitted the "foundational piece

of evidence" that "undermined the purported link between [the place to be searched) and [the

criminal activity)." See 311 F. Supp. 3d at 441. Here, none of the purported errors or omissions

about which Schulte complains can be fairly described a "foundational"-in fact, they are, at best,

marginal. See supra pp. 27-31. Schulte is not entitled to a hearing, let alone suppression.

               4.      The Covert Warrant Was Not Overbroad

       Schulte also argues that the Covert Affidavit was insufficient to establish probable cause

to search his home, but that argument also fails.

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       First, Schulte's contention that the Covert Affidavit does not establish a nexus to search

his home is meritless. Initially, Schulte's motion erroneously claims that the Covert Affidavit does

not specify how the FBI believed that Schulte stole the Classified Information. (See Res. Br. 25).

The Affidavit says clearly that Schulte likely stole the Classified Information "by using

sophisticated computer skills to exfiltrate a substantial amount of data onto a removable drive and

then covertly removed that drive from the CIA."         (Ex. A ,i,i 37(a)-(b) (emphasis added)).

Moreover, other facts set forth in the Affidavit also show that Schulte had to use some sort of

electronic media to steal the Classified Information: (i) the Classified Information was stored on

the LAN in an electronic form; (ii) the LAN was "air-gapped," meaning Schulte most likely could

not have transferred it from the LAN over the Internet; and (iii) the volume of the Classified

Information-thousands of documents in the initial Leak alone--was so substantial that it would

make no sense for Schulte to have removed it in hardcopy. Moreover, Agent Donaldson also noted

that, based on his training and experience accrued over seven years in counterespionage

investigations, he had learned that individuals who stole and transmitted classified information

often did so using electronic devices, and that they often maintained those electronic devices in

their homes. (Id. ,i 22). Combining Agent Donaldson's reasoned conclusions with his statements

about the nature of the LAN, the likely method of exfiltration, Schulte' s illegal manipulation of

CIA computer systems, Schulte's lax security practices, and the fact that he had removed CIA

information improperly in the past, the Covert Affidavit certainly sets forth probable cause to

search Schulte's home for electronic media and other evidence of the theft and transmittal of the

Classified Information. United States v. Cruz, 785 F.2d 399, 405 (2d Cir. 1985) (evidence that

defendant was engaged in drug trafficking, combined with agent's opinion that drug traffickers

"customarily" keep evidence of their drug trafficking in their homes, established probable cause

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to search defendant's home); United States v. Benevento, 836 F.2d 60, 70 (2d Cir. 1987) (same),

abrogated on other grounds by United States v. Indelicato, 865 F.2d 1370 (2d Cir. 1989).

       Schulte further argues that the Covert Affidavit does not assert that Schulte personally

owned or possessed a computer or electronic device on which to store the Classified Information.

(See Res. Br. 25-26). That argument, however, is a red herring. The issue is not whether Schulte

owned a'computer or thumb drive in March 2016 or March 2017, but rather whether there was

probable cause to believe that Schulte possessed an electronic device that stored the Classified

Information. As described above, the Covert Affidavit plainly set forth probable cause to believe

that Schulte took the Classified Information by copying it to removable media that he smuggled

out of the CIA, that Schulte had access to removable media while at the CIA, and that Schulte had

no compunction about connecting that media to the LAN, even if barred by CIA security protocols

(Ex. A ,i 19(c) (describing some of Schulte's colleagues' concerns that Schulte would disregard

CIA protocols with respect to "when and what kinds of media or data (such as external drives)

could be connected or uploaded to the CIA computer systems")).

       Second, contrary to Schulte' s staleness argument, there was certainly probable cause to

believe that Schulte might still have the Classified Information in electronic form as of March 13,

2017, when Agent Donaldson submitted the Covert Affidavit. When Schulte left the CIA in

November 2016, he was angry at the agency, and WikiLeaks had not yet disclosed any of the

Classified Information. Indeed, WikiLeaks' first disclosure of the Classified Information did not

come until March 7, 2017,just days before the Covert Affidavit was submitted. Thus, although

the FBI believed initially that Schulte had stolen the Classified Information in March 2016, the

evidence available at the time still reasonably supported an inference that Schulte had provided

the Classified Information to WikiLeaks as recently as March 7, 2017. Thus, the FBI reasonably

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could have inferred that Schulte had passed classified information to WikiLeaks within the week

prior to obtaining the Covert Warrant, and might continue to possess classified information. See

United States v. Ortiz, 143 F.3d 728, 732 (2d Cir. 1998) (if affidavit shows "continuing conduct

or an ongoing activity," then "the passage of time between the last described act and the

presentation of the application becomes less significant."); Singh, 390 F.3d at 183 (same).

        Schulte asserts that because the Government's theory now is that Schulte transmitted the

Classified Information in late April or early May 2016, that shows that there was no reason to

believe that his home would still contain evidence of the crime. (Res. Br. 30 n.6). But Schulte's

argument proves too much: The evidence that allowed the Government to determine when Schulte

transmitted the Classified Information was found, among other places, in Schulte' s home and

Google account, which was obviously obtained only after the Covert Affidavit was executed. (See

Ex. E ,r,r 27-28 (explaining how FBI found multiple hard drives in Schulte's apartment and

searches in his Google account conducted between April 30 and May 1, 2016 for tools to securely

erase those brands of hard drives and to verify that a large file had been transferred)). Moreover,

even given Schulte' s expertise, the FBI might still have been able to recover evidence he had tried

to delete. (See Ex. A ,r 27 (describing how forensic tools could potentially recover deleted data)).

        Indeed, even if the FBI could have determined only that Schulte had deleted or destroyed

material, that would still be evidence. For example, the fact that Schulte tried to delete a file related

to one of the CIA cyber-tools disclosed in the Leaks from electronic media found in his home

(which he did) or tried to shred CIA documents (which he also did) would be relevant evidence of

the theft of the Classified Infonnation. See, e.g., United States v. Robinson, 635 F.2d 981, 986 (2d

Cir. 1980) (evidence that defendant tried to destroy passport was admissible as evidence of

consciousness of guilt). That is a far cry from the authority Schulte relies on, which does not

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  involve potential ongoing conduct or material that could constitute evidence even if deleted. See

  United States v. Griffith, 867 F.3d 1265, 1275 (D.C. Cir. 2017) (probable cause to search residence

  for defendant's home was stale when the crime had occurred a year before the search and the

  defendant bad been incarcerated for 10 months during that period); United States v. Paul, 692 F.

  Supp. 186, 193 (S.D.N.Y. 1988) (search warrant allegations were stale when they pertained to two

 isolated bribes that occurred five months before the search).

II.      THE CHILD PORNOGRAPHY EVIDENCE SHOULD NOT BE SUPPRESSED

         Schulte next contends that the Supplemental Warrants, which among other things

  authorized the seizure of child pornography on the Electronic Devices, are invalid because the

  affidavits supporting those warrants deliberately or recklessly omitted materials facts. As a result,

  Schulte argues that the Court should "suppress the resulting evidence." (Res. Br. 40). 8 As

  described below, Schulte has failed to carry his "heavy" burden to show that the affidavits in

 question omitted material facts or that those omissions were designed to mislead the issuing judges.

  In any event, the Court need not reach the Franks issue at all. Whether or not the Government

 obtained the Supplemental Warrants, the Government inevitably would have discovered the child

  pornography in plain sight during the previously authorized search of the Electronic Devices for

  the Espionage Offenses. As a result, Schulte' s motion should be denied without a hearing.




 8 Schulte does not challenge the portions of the Supplemental Warrants authorizing the search of

 the Electronic Devices for evidence of the copyright infringement offenses. As a result, regardless
 of the outcome of this motion, the portion of the Supplemental Warrants relating to the copyright
 infringement offenses remains valid and any evidence recovered pursuant to that portion of the
 warrants should not be suppressed. See, e.g., George, 975 F.2d at 79 ("Fourth Amendment
 guarantees are adequately protected by suppressing only those items whose seizure is justified
 solely on the basis of the constitutionally infirm portion of the warrant, which no reasonably well-
 trained officer could presume to be valid.").

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       A.      Schulte's Motiou Fails At Both Stages of the Frank's Analysis

               1.      Relevant Facts

       Schulte's motion challenges warrants executed on April 14 and May 10, 2017 in the

Eastern District of Virginia, which together constitute the Supplemental Warrants (the "April 2017

Warrant" and "May 2017 Warrant"). In those warrants, which are nearly identical, the FBI sought

and obtained authorization to expand the scope of the search of the Electronic Devices to include

evidence of child pornography and copyright infringement offenses.

       In support of its application for the April 2017 Warrant, the Government submitted an

affidavit by FBI Special Agent Richard J. Evanchec, an agent experienced in counterespionage

investigations and the use of computers more generally in criminal activity (the "April Affidavit").

(Ex. C ,r 1). Initially in the April Affidavit, Agent Evanchec explained that the Government was

already searching the Electronic Devices for evidence of the Espionage Offenses pursuant to a

search warrant, and he attached and incorporated by reference the Covert Affidavit and Warrant.

(Id. ,r 2-4, 11-12 & n.2). He then stated that while searching the Electronic Devices for evidence

of the Espionage Offenses, the FBI had discovered evidence of child pornography and copyright

offenses. (Id. ,r,r 3-4). Upon discovery of that evidence, the FBI "promptly contacted the Assistant

United States Attorneys involved in this investigation to inform them of this development, and the

decision was made to seek additional" authorization to search the Electronic Devices for evidence

of child pornography and copyright infringement offenses. (Id. ,r,r 3-4, 6). 9




9
 The FBI, in consultation with the U.S. Attorney's Office, had stopped searching the Electronic
Devices after discovering evidence of child pornography and copyright infringement on the
Desktop Computer and resumed those searches upon obtaining the April 2017 Warrant. (See
Classified Ex. L (Email from Agent Evanchec)).
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        Agent Evanchec learned from FBI members searching the Electronic Devices, that on or

about April 7, 2017, "a photograph was discovered on Schulte's desktop computer (the 'Desktop

Computer') that appears to depict child pornography" (the "CP Image," attached as Exhibit 0).

(Id. 1 13 ). The CP Image appears to depict "a naked young child on all fours and what appear to

be two adults around her, one of whom appears to be performing a sexual act on the child." (Id. 1

14). Notably, Agent Evanchec stated that "it is possible that the CP [Image] ... could be altered

and not [be] a real picture." (Id. 1 14 n.5). Nevertheless, Agent Evanchec had "viewed the CP

[Image Jon the Desktop Computer and believe[d] that it is an actual photograph." (Id. ). 10

        Agent Evanchec then explained how individuals involved in child pornography offenses

use electronic devices to facilitate their crimes, including that they often (i) collect and distribute

child pornography on various devices such as the Electronic Devices; (ii) back up or transfer files

from their older computers' hard drives to that of their new computers, so as not to lose relevant

data; and (iii) store files related to their criminal activity to other storage media. (Id. 11 16-17).

        With respect to the CP Image, Agent Evanchec stated that it "was likely downloaded via

the Internet using the Desktop Computer or other of the [Electronic] Devices." (Id. 118). As a

result, the Electronic Devices "may contain messages, emails, photographs, and/or videos relating

to the possession, receipt, or production of child pornography." (Id.). Agent Evanchec also

explained that files containing child pornography, like the CP Image, may reside on the Electronic

Devices even after they are deleted. (Id.). For example, deleted files may "reside in 'slack space'

(space that is not being used for storage of a file) for long periods of time before they are


10
  Agent Evanchec also discussed his review of Schulte' s Google searches, which were obtained
pursuant to a search warrant (the "CP Google Searches"). In particular, he stated that on a number
of occasions in or about 2011 and 2012, Schulte appeared to have searched the Internet for child
pornography, and Agent Evanchec provided examples of those searches. (Ex. C ,r 15).

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overwritten" and a computer's operating system may keep data related to deleted files in a "'swap'

or 'recovery' file." (Id.). In the same paragraph in which Agent Evanchec stated that the CP

Image was likely downloaded via the Internet, he stated that files viewed on the Internet are

generally automatically downloaded onto a specific location on a computer:

                   [F]iles that have been viewed via the Internet are generally
                   automatically downloaded into a temporary Internet directory or
                   'cacbe.' The browser typically maintains a fixed amount of hard
                   drive space devoted to these files, and the files are only overwritten
                   as they are replaced with more recently viewed Internet pages.
                   Thus, the ability to retrieve from a hard drive or other electronic
                   storage media depends less on when the file was downloaded or
                   viewed than on a particular user's operating system, storage
                   capacity, and computer habits.
(Id.).

          Based on the foregoing, Agent Evanchec sought authorization to search the Electronic

Devices for evidence of child pornography offenses. (Id. ,, 19-20). Through the April Affidavit,

Agent Evanchec also sought and obtained authorization to search the Electronic Devices for

evidence of copyright infringement offenses. Notably, the search of the Electronic Devices for

evidence of the child pornography and copyright infringement offenses was to be conducted

pursuant to the same procedures as those set forth in the Covert Search Warrant. (Id. ,, 20, 29).

          On May I 0, 2017, the FBI executed the May 2017 Warrant. The affidavit in support of the

May 2017 Warrant, which was submitted by FBI Special Agent Garrett Igo, was nearly identical

to the April Affidavit except that it omitted the paragraph discussing the CP Google Searches (the

"May Affidavit"). In lieu of that paragraph, Agent Igo included a footnote noting that the

Government had previously executed the April 2017 Warrant relying on the CP Google Searches.

(Ex.     D,   14 n.6). Agent Igo explained that the CP Google Searches were obtained by conducting

searches for child pornography through evidence obtained from Google pursuant to a warrant

related to the Espionage Offenses, prior to obtaining the April 2017 Warrant. (Id.) As a result,
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"out of an abundance of caution, and because the search of the [Electronic JDevices (which consists

of numerous terabytes of data) [was] only partially complete," Agent Igo submitted the May

Affidavit, which did not rely in any way on the CP Google Searches. (Id.). Agent Igo also stated

that agents were instructed "to stop any searches related to the CP Offenses absent renewed

additional authorization under Rule 41 of the Federal Rules of Criminal Procedure." (Id.).

               2.      Discussion

                        a.     The Alleged Omissions Were Not Material

        Schulte· contends that the April and May Affidavits should have included that (i) the CP

Image was found in the Desktop Computer's page file, an area of the computer that is "generally"

not accessible to the computer's user (Res. Br. 36); (ii) there was limited metadata associated with

the image such that it "may have been residing in the page file" for a long period of time (id.;

Bellovin Deel. if 11 ); and (iii) about 20% of the image was blacked out, potentially supporting the

conclusion that the image was automatically downloaded to the Desktop Computer (Res. Br. 34).

None of this information undercuts probable cause.

        Contrary to Schulte' s apparent view, the materiality component is not satisfied by

demonstrating the mere relevance of information omitted from a warrant application. Rather,

under Franks, materiality depends on whether the omitted information was "necessary to the

finding of probable cause," Franks, 438 U.S. at 156, and not on what might have been relevant to

that finding, let alone of potential interest to a magistrate judge. See Colkley, 899 F .2d at 301.

       Here, the omitted information simply presented the possibilities that Schulte did not have

access to the CP Image, never viewed it, and that the Image may have been stored on the Desktop

Computer for a long period of time. But an omitted fact is not material under Franks simply

because it creates some possibility of a contrary conclusion; it is material only if it would actually

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defeat the effort to show probable cause. See Salameh, 152 F.3d at 113-14 (omission held not

material where affidavit alleged that bomb-making materials were found in an apartment

associated with the target, but omitted the fact that an electrical engineering professor who claimed

to reside in the apartment told agents that the materials were used for his studies); Klump, 536 F.3d

at 120 (omission held not material where affidavit stated that PVC pipe, which agents observed

being carried into the premises, is often used to grow marijuana, but failed to inform court that

there was ongoing construction at the premises); United States v. Levasseur, 816 F.2d 37, 44 (2d

Cir. 1987) (omission held not material despite court's "concern'' that the affidavit "seriously

understated" facts calling into question the informant's reliability). That remains true even where

the omitted information is sufficiently important that the affiant "should have disclosed" it. United

States v. Bianco, 998 F.2d 1112, 1126 (2d Cir. 1993) (although the affiant "should have disclosed"

a fact that detracted from the Government's need for a roving Title III order, omission was not

material because there would still be a basis for the order).

       Here, the possibilities proffered by Schulte would not have defeated probable cause, given

the limited nature of the authorization sought through the Supplemental Warrants. At the time the

agents sought those warrants, law enforcement was already authorized to search the Electronic

Devices, and the only relief sought through the Supplemental Warrants was to expand the search

of the Electronic Devices to include evidence of child pornography and copyright infringement.

       Against this backdrop, Schulte's materiality arguments fall apart. The fact that it was

possible that Schulte might never have viewed the CP Image or that it was automatically

downloaded to the Desktop Computer is not material.             As an initial matter, the affidavits

contemplated that the CP Image might have been downloaded absent direct action by Schulte or

anyone else, stating that the CP Image was "likely downloaded via the Internet" and that "files that

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have been viewed via the Internet are generally automatically downloaded into a temporary

Internet directory or 'cache."'     (Ex. C ,r 17).     Even if Schulte had visited a website that

automatically distributes electronic images of child pornography and the CP Image was

automatically downloaded to his Desktop Computer when he did so, that would be substantial

evidence justifying the continued search of the Desktop Computer for additional evidence of child

pornography. See, e.g., United States v. Bailey, 272 F. Supp. 2d 822, 824-25 (D. Neb. 2003)

("[K]knowingly becoming a computer subscriber to a specialized internet site that frequently,

obviously, unquestionably and sometimes automatically distributes electronic images of child

pornography to other computer subscribers alone establishes probable cause for a search of the

target subscriber's computer even though it is conceivable that the person subscribing to the child

pornography site did so for innocent purposes and even though there is no direct evidence that the

target subscriber actually received child pornography on his or her computer.").

        Regardless, Schulte' s argument in this respect is built on a false premise: that a search

warrant must be based on probable cause that Schulte himself violated the law. But "[s]earch

warrants are not directed at persons; they authorize the search of place[s] and the seizure of things."

Zurcher v. Stanford Daily, 436 U.S. 547, 555 (1978). So long as "there is a fair probability that .

. . evidence of a crime will be found in a particular place," there is probable cause to search that

place, United States v. Raymonda, 780 F.3d 105, 113 (2d Cir. 2015) (quotation mark omitted),

regardless of whether property's owner is suspected of committing any crime, Gates, 462 U.S. at

243 n.13 ("[T]he relevant inquiry is not whether particular conduct is 'innocent' or 'guilty,' but

the degree of suspicion that attaches to particular types of non-criminal acts.").          Here, the

undisputed fact that the CP Image was on the Desktop Computer (which law enforcement was




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already authorized to search pursuant to another warrant) plainly created a "fair probability" that

additional evidence of child pornography would be found on the Electronic Devices.

       Furthermore, the fact that it was possible that the CP Image may have been present on the

Desktop Computer for a long period of time did not make the search warrant stale.             It is

questionable whether the staleness doctrine applies at all in these circumstances-that is, where

law enforcement is already authorized to search a particular place and simply sought permission

to seize evidence of another crime it discovered during the course of that search. In any event,

when the agents sought the Supplemental Warrants, they had no information as to how long the

image had been on the Desktop Computer (which remains the case to this day) and made no

representation to the issuing judges concerning that issue. Informing the judges of this lack of

knowledge would not have defeated probable cause. This is particularly true given that "the

staleness determination [in child pornography searches] is unique because it is well known that

images of child pornography are likely to be hoarded by persons interested in those materials in

the privacy of their homes."      United States v. Irving, 452 F.3d 110, 125 (2d Cir. 2006).

Accordingly, it is common for courts to fmd that probable cause to search for child pornography

was not stale even when the underlying factual allegations are many months old. See, e.g., id

(holding 22 month-old factual allegations not stale in child pornography context); United States v.

Allen, 625 F.3d 830, 843 (5th Cir. 2010) (allegations that defendant had downloaded child

pornography 18 months before the search warrant issued were not too stale to establish probable

cause); United States v. Frechette, 583 F.3d 374 (6th Cir. 2009) (allegation that defendant had

purchased a membership to a child pornography website 16 months prior to the search not stale).

       In this regard, the principal case on which Schulte relies-Raymonda, 780 F.3d 105 (Res.

Br. 38-39)--is inapposite. In that case, law enforcement obtained a warrant to search a defendant's

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residence based on evidence that an IP address associated with the defendant may have accessed

child pornography nine months before the warrant was executed. The Second Circuit held that the

warrant was invalid on staleness grounds, reasoning that because law enforcement was relying on

nine-month-old evidence, law enforcement was also required to show that the defendant "accessed

[the child pornography] in circumstances sufficiently deliberate or willful to suggest that he was

an intentional 'collector' of child pornography." Id.

       Here, by contrast, the Government sought the April 2017 Warrant mere days after

identifying the CP Image. At that time, law enforcement had no information as to how long the

image had been on the Desktop Computer. Thus, unlike in Raymonda, the factual allegations here

were not so old that the agents were required to show that Schulte was an intentional collector of

child pornography. Moreover, as noted, the agents in this case were seeking a much more limited

probable cause determination through the Supplemental Warrants-that is, the authority to seize

evidence of child pornography and copyright infringement offenses during the course of the

already authorized search of the Electronic Devices. In Raymond.a, 780 F.3d at 110, by contrast,

the agents were seeking authorization to search the defendant's entire residence and any electronic

devices found therein in the first instance, which plainly required a higher quantum of proof.

       Thus, Raymonda does not support Schulte' s claim, and Schulte has failed to demonstrate

that, regardless of the potential relevance of the omitted information, it would have actually

changed the probable cause determination. For the reasons set forth above, it would not have.

       b.      There Is No Basis to Find That the Omissions Were Made Intentionally or with
               a Reckless Disregard for the Truth

       Schulte also has failed to show that the agents acted with the intent to mislead or with

reckless disregard for the truth. Schulte incorrectly assumes that simply because the omitted



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information raised the possibilities described above, it necessarily follows that the omission of this

information was intentional. That is not the law:

       An affiant cannot be expected to include in an affidavit every piece of information
       gathered in the course of an investigation. However, every decision not to include
       certain inf01mation in the affidavit is 'intentional' insofar as it is made knowingly.
       If ... this type of 'intentional' omission is all that Franks requires, the Franks intent
       prerequisite would be satisfied in almost every case .... [Rather,] Franks protects
       against omissions that are designed to mislead, or that are made in reckless
       disregard of whether they would mislead, the magistrate.

Awadallah, 349 F.3d at 67-68 (quoting Colkley, 899 F.2d at 300-01).

       Here, the record does not support a fmding that the alleged omissions were designed to

mislead or made in reckless disregard of whether it would mislead. As the affidavits reflect, at the

time the FBI sought the April 2017 Warrant, the FBI was already authorized to search the

Electronic Devices, including the Desktop Computer, for evidence of the Espionage Offenses

pursuant to the Covert and Overt Warrants. When during the course of that search the FBI

discovered evidence of child pornography and copyright offenses, the FBI stopped searching the

Electronic Devices, promptly consulted with prosecutors, and then sought the April 2017 Warrant.

(Ex. L (Agent Evanchec: "We've been on a stand-down order since [April 10, 2017] 011 a review

of some of [Schulte's] evidence because of [the discovery of evidence of child pornography and

copyright infringement offenses].")). Then, after discovering that the April 2017 Warrant relied

on the CP Google Searches, the FBI sought the May 2017 Warrant "out of an abundance of

caution," alerting the issuing judge to the potential error.

       The agents' decisions to seek the April 2017 Warrant at a time when they already had

authorization to review the Electronic Devices, and then seek the May 2017 Warrant after

discovering a potential error in the April 2017 Warrant is substantial evidence that they were acting

in good faith. This conclusion is reinforced by the fact that, as Schulte concedes, all of the

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information in the April and May Affidavits was true. This included not only that the CP Image

was found on Schulte's Desktop Computer, but a detailed description of the CP Image and how it

was potentially downloaded to the Desktop Computer. In addition, the affidavits were not a one-

sided presentation of the information on which probable cause was based. Rather, the agents

forthrightly disclosed the possibility that the CP Image might not actually have been child

pornography at all and that it potentially was automatically downloaded from the Internet. These

circumstances are markedly different than those in other cases in which courts have inferred

recklessness based on an omission. See, e.g., Brown v. D'Amico, 35 F.3d 97, 99 (2d Cir. 1994) (a

"clear example" of an omission "critical" to the evaluation of probable cause "would occur if an

officer secured a warrant by informing a judge that he heard the defendant utter a threat, but failed

to mention that the officer knew that the defendant was reading lines while auditioning for a part

in a play."); Walczyk v. Rio, 496 F.3d 139,161-62 (2d Cir. 2007) (probable cause existed only

because the target allegedly maintained a second residence at the premises to be searched, but

affidavit omitted the fact that the target had not resided there for more than seven years); United

States v. Liston, 120 F.3d 965, 969 (9th Cir. 1997) (probable cause depended "entirely" on the

connection between the target and the residence searched, but affidavit failed to disclose a large

"for sale" sign posted on the lawn with a "sold" sign affixed to it for at least 30 days).

       Indeed, if the agents in this case intended to deliberately or recklessly omit material

information, they could have simply ignored the CP Image, not sought the Supplemental Warrants,

and continued searching the Electronic Devices.          Had the agents done so, however, the

Govermnent might now be facing a motion to suppress based on the FBI's failure to seek an

additional warrant upon discovery of the child pornography and copyright offenses. See, e.g.,

United States v. Carey, 172 F.3d 1268, 1273 (10th Cir. 1999) (suppressing child pornography

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images found pursuant to the search of a computer for evidence of drug crimes because after the

agent found the first image of child pornography he continued searching and seized other images

of child pornography, thereby exceeding the scope of the warrant); see also United States v. Mann,

592 F-3d 779, 786 (7th Cir. 2010) (noting that after an agent discovered "obvious evidence ofchild

pornography" pursuant to a search for other materials, the agent's "failure to stop his search and

request a separate warrant for child pornography [was] troubling"). The April and May Affidavits

reflect that the agents adopted the opposite approach, and were cautious and diligent during a

highly sensitive and urgent national security investigation, not deceptive or reckless. See, e.g.,

United States v. Lucas, 640 F.3d 168, 180 (6th Cir. 2011) (upholding denial of motion to suppress

where officer obtained consent to search the defendant's computer for evidence of drug trafficking

and, upon discovering evidence of child pornography, immediately stopped searching until he

obtained a search warrant for child pornography); United States v. Koch, 625 F.3d 470,476 (8th

Cir. 2010) (upholding search where officers immediately stopped their warrant-authorized search

of the defendant's flash drive for evidence of gambling when they discovered child pornography).

       B.      Suppression Is Unwarranted Because the Government Would Have Inevitably
               Discovered the Child Pornography

       Even if the Government arguably was not authorized to search for child pornography

pursuant to the Supplemental Warrants, the Government inevitably would have discovered the

child pornography during the search of the Electronic Devices authorized both by the Covert and

Overt Warrants and the unchallenged portion of the Supplemental Warrants relating to the

copyright offenses. As a result, Schulte's motion fails.

               1.     Relevant Facts

       During the search of the Electronic Devices, FBI computer scientists (the "Computer

Scientists") discovered a massive amount of apparent child pornography, principally in two
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locations on the Desktop Computer. The Computer Scientists discovered this child pornography

in plain view after unlocking hidden and/or encrypted compartments on the Desktop Computer.

       By way of background, the Desktop Computer contained four storage devices, three of

which were configured as an encrypted Raid 5 volume, that is, a data storage system that combines

multiple drives into one unit (the "Raid 5 Volume"). (Declaration of FBI Computer Scientist Luis

Cruz 13). As part of the Computer Scientists' review of the Desktop Computer, they deciypted

the Raid 5 Volume and assessed its contents. (Id.).

       Within the Raid 5 Volume, the Computer Scientists encountered an approximately 100

gigabyte partition containing an encrypted Linux Mint Virtual Machine (the "VM"). (Id 1 4).

"[A] virtual machine is a full computer system within a physical computer." (Id). The Computer

Scientists were able to access the VM by inputting a password obtained from the Electronic

Devices, which Schulte used for other of his accounts. (Id 1 4). Upon accessing the VM, the

Computer Scientists discovered a user account 'josh" with an encrypted home directory (the

"Home Directory"). (Id. 1 5). The Computer Scientists were able to access the Home Directory

by inputting a different password obtained from the Electronic Devices. (Id).

       Upon accessing the Home Directory, the Computer Scientists identified a file titled

"data.bkp" that was approximately 50 gigabytes in size (the "Data File"). (Id 16). Initially, when

the Computer Scientists opened the Data File, the file appeared to contain only random data. Based

on the size of the Data File and its contents, which appeared to be highly random data, and based

on the presence of the encryption software VeraCrypt on the VM, the Computer Scientists

determined that the Data File was potentially a VeraCrypt encrypted container. (Id 1 7). The

Computer Scientists were subsequently able to decrypt the Data File using VeraCrypt by entering

the same password used to access the VM. (Id).

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       Once the Data File was decrypted, it was immediately apparent from the names of the files

that it likely contained a huge amount of child pornography. (Id.). For example, some of the file

names included "(PHTC) Kelly SYO - Sucking & Trying Fuck.avi"; "(pthc) TF-BTF-01 - Man

Gets   In Bed With Hot 7yo.mpg";             and "3+4yr 2 Girls children sexually abused

BEAUTIFUL_Venezuela patt-2. Mpg." (Id.). As a result, the Computer Scientists promptly

contacted Agent Evanchec. After consulting with Agent Evanchec, the Computer Scientists

opened several of the files, which appeared to contain child pornography. (Id. ,r 8).

       In addition, within the Data File, there was an additional file also titled "data.bkp" that was

several gigabytes in size and that also contained random, binary data (the "Second Data File").

(Id. ,r 9). The Computer Scientists were subsequently able to decrypt the Second Data File using

VeraCrypt by entering the same password used to access the VM and the Data File, as described

above. (Id.). Once the Second Data File was decrypted, it contained forensic artifacts of files

having names indicative of child pornography. (Id.).

       Finally, after identifying the Data File and Second Data File, the Computer Scientists also

identified another VeraCrypt encrypted container within the Raid 5 Volume titled "volume," which

appeared to contain over approximately 100 gigabytes of data (the "Volume Encrypted

Container"). (Id. ,r 10). The Computer Scientists were able to decrypt at least a portion of the

Volume Encrypted Container. Once the Volume Encrypted Container was decrypted, it contained,

among other things, additional images and videos (the "Additional Child Pornography"). The

Additional Child Pornography was reviewed by members of the Crimes Against Children Squad

who determined that it was, in fact, child pornography. (Id.).




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       Notably, in reviewing the foregoing locations on the Desktop Computer, the Computer

Scientists did not use any forensic techniques, such as keyword searches, directed to identifying

child pornography. (Id. ~ 11).

               2.      Applicable Law

       The exclusion of evidence is improper when the inevitable discovery doctrine applies.

Under this doctrine, evidence that was illegally obtained will not be suppressed if the Government

can "establish by a preponderance of the evidence that the information ultimately or inevitably

would have been discovered by lawful means." Nix v. Williams, 467 U.S. 431,444 (1984). In

meeting this burden, the Government must prove "that each event leading to the discovery of the

evidence would have occurred with a sufficiently high degree of confidence for the district judge

to conclude, by a preponderance of the evidence, that the evidence would inevitably have been

discovered." United States v. Vilar, 729 F .3d 62, 84 (2d Cir. 2013). The ultimate question for any

court weighing application of this doctrine is this: "Would the disputed evidence inevitably have

been found through legal means but for the constitutional violation? If the answer is yes, the

evidence seized will not be excluded." United States v. Heath, 455 F.3d 52, 55 (2d Cir. 2006).

       The inevitable discovery doctrine is "an extrapolation from the independent source

doctrine," which provides that evidence should not be suppressed where police obtain a valid

warrant based on information which "came from sources wholly unconnected with the [illegal

search] and was known to the agents well before the [illegal search occurred]. Segura v. United

States, 468 U.S. 796, 814 (1984). The animating force behind these doctrines is a simple principle:

       [T]he interest of society in deterring unlawful police conduct and the public interest
       in having juries receive all probative evidence of a crime are properly balanced by
       putting the police in the same, not a worse, position than they would have been in
       if no police error or misconduct had occurred. When the challenged evidence has
       an independent source, exclusion of such evidence would put the police in a worse
       position than they would have been in absent any error or violation.
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Nix, 467 U.S. at 443 (internal citation omitted).

               3.      Discussion

        This is the quintessential case for application of the inevitable discovery doctrine. The

simple question presented is whether law enforcement would have discovered the child

pornography through lawful means had they never sought or obtained authorization to search the

Electronic Devices for child pornography. Heath, 455 F.3d at 55. The clear answer to that

question is yes-law enforcement would have continued searching the Electronic Dt>Vices for

evidence of the Espionage Offenses pursuant to the Covert and Overt Warrants, and for evidence

of the copyright infringement offenses pursuant to the unchallenged portion of the Supplemental

Warrants. Pursuant to those lawful searches, the FBI inevitably would have discovered the child

pornography in plain view on the Desktop Computer. In fact, thatis precisely what happened.

       As set forth above, the Computer Scientists worked methodically to unlock hidden and/or

encrypted areas of the Desktop Computer and review or survey the files within those areas. The

Covert and Overt Warrants explicitly authorized law enforcement to do so, providing that law

enforcement could use various techniques to review electronically stored information for evidence

of the Espionage Offenses including, among others: (i) "surveying directories or folders and the

individual files they contain (analogous to looking at the outside of a file cabinet for markings it

contains and opening a drawer believed to contain pertinent files)"; (ii) "conducting a file-by-file

review by 'opening' or reading the first few 'pages' of such files in order to determine their precise

contents (analogous to performing a cursory examination of each document in a file cabinet to

determine its relevance)"; and (iii) "'scanning storage areas to discover and possibly recover

recently deleted data or deliberately hidden files." (Ex. A ,r 34).



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       During that search, the Computer Scientists encountered the Data File and the Volume

Encrypted Container, both large files that appeared to be (and in fact were) VeraCrypt encrypted

containers. Using Schulte's own passwords, the Computer Scientists decrypted those locations of

the Desktop Computer and, upon decryption, it was apparent that they contained child

pornography. Again, the Computer Scientists did not conduct any keyword searches for child

pornography to identify those containers or to 1mlock them. (Cruz Aff. 1 11). Rather, it was

entirely reasonable and appropriate for the Computer Scientists to focus on unlocking hidden and

encrypted locations on the Desktop Computer in an effort to locate evidence of the Espionage

Offenses and/or the copyright infringement offenses. (Id).

       On encountering images of child pornography while engaged in that lawful process, the

Computer Scientists, even in the absence of the Supplemental Warrants, were entitled to seize the

pornographic images and videos under the plain view exception to the warrant requirement.

Galpin, 720 F.3d at 451 ("The plain view doctrine permits an officer to seize evidence outside a

warrant's authorization when it is immediately apparent that the object is connected with criminal

activity, and where such search and seizure do not involve an invasion of privacy." (internal

quotation marks omitted)); see also Coolidge v. New Hampshire, 403 U.S. 443, 466 (1971) ("What

the 'plain view' cases have in common is that the police officer in each of them had a prior

justification for an intrusion in the course of which he came inadvertently across a piece of

evidence incriminating the accused. ").11 Indeed, the plain view exception clearly would have



11
  Notably, the Fourth Amendment does not prohibit the warrantless seizure of evidence in plain
view even though the discovery of the evidence was not inadvertent. Horton v. California, 496
U.S. 128, 136-41 (1990). Nevertheless, inadvertence is a characteristic of most plain-view
seizures. Id Here, as noted above, the child pornography would have been inadvertently
discovered whether or not the FBI was authorized to seize evidence of child pornography.

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applied here because the Computer Scientists had lawful access to the Electronic Devices, were

authorized to identify and unlock hidden compartments on those devices and survey files within

them, and, in that process, inadvertently encountered incriminating child pornography. Horton,

496 U.S. at 136; Coolidge, 403 U.S. at465; United States v. Crespo-Rios, 645 F.3d 37, 43 (1st Cir.

2011) (denying motion to suppress child pornography seized pursuant to a computer search for

other crimes where the Government would have inevitably discovered the child pornography by

reviewing files on the computer); United States v. Williams, 592 F.3d 511, 521 (4th Cir. 2010)

(upholding the admissibility of images of child pornography discovered while executing warrant

for state law crimes of computer harassment); see also United States v. Bonczek, No. 08 Cr. 361

(PAC), 2008 WL 4615853, at *8-9 (S.D.N.Y. Oct. 16, 2008) (inevitable discovery doctrine applies

where agents would have obtained a warrant even had they not unlawfully entered the defendant's

apartment and discovered child pornography). 12

       Once the initial CP Image was discovered, as the April and May Affidavits make clear, the

FBI promptly consulted with prosecutors and sought the Supplemental Warrants, which

specifically authorized them to seize the CP Image and any other child pornography on the

Electronic Devices. That is exactly what they should have done. See Mann, 592 F.3d at 786;




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  Although the file labels for much of the child pornography identified on the Desktop Computer
clearly indicated that the files likely contained child pornography, it was permissible for the
Computer Scientists to review the files regardless of their file labels or extensions. See, e.g.,
United States v. Highbarger, 380 F. App'x 127, 130 (3d Cir. 2010) ("Suspects can easily hide
information by mislabeling files, and, therefore, law enforcement officials are not required to
accept a suspect's designation of what is contained in a particular file."); Williams, 592 F.3d at
522 ("Surely, the owner of a computer, who is engaged in criminal conduct on that computer, will
not label his files to indicate their criminality."); United States v. Harding, 273 F. Supp. 2d 411,
424 (S.D.N.Y. 2003) ("Files containing graphical images may be assigned file extensions ... that
typically are assigned to text files. Files containing text may be assigned file extensions, including
'JPG' or 'GIP', that typically are given to graphical image files.").

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       United States v. Burgess, 576 F.3d 1078, 1092 (10th Cir. 2009) (distinguishing Carey, 172 F.3d

       1268). Moreover, given the agents' actions, had they sought but not obtained authorization to

       search for child pornography based on the CP Image, the Court can have a "high level of

       confidence" that the agents would have sought an additional warrant at the time they identified the

       thousands of images of child pornography in the Data File and Volume Encrypted Container.

       Heath, 455 F.3d at 55; see also Bonczek, 2008 WL 461583, at *8 ("Additionally, the Court has a

       'high level of confidence,' as required by Heath, 455 F.3d at 55, that police would have obtained

       a warrant based on what they knew prior to the illegal entry, and that they would have discovered

       the same evidence even if they had waited for the warrant before entering."). There can be no

       reasonable dispute that an affidavit submitted in support of such a warrant would have presented

       overwhelming evidence justifying the seizure of child pornography on the Electronic Devices.

              Based on the foregoing circumstances, it is clear that the child pornography on the Desktop

       Computer would have been inevitably discovered and that suppression is entirely unwarranted.

III.          THE 2017 WARRANTS ARE APPROPRIATELY PARTICULARIZED

              In line with the Fourth Amendment's requirements, the 2017 Warrants identified the crimes

   under investigation and set forth specific categories of evidence subject to seizure such that any

       executing officer could easily "ascertain and identify with reasonable certainty those items that the

       magistrate judge authorized him to seize." George, 975 F.2d at 75. Schulte misconstrues the

       Warrants' provisions and the contours of controlling precedent.          The 2017 Warrants were

       particularized and each category of evidence subject to seizure was supported by probable cause.

              First, Schulte acknowledges that much "of the sought information came with qualifying

       language" related to the Subject Offenses, but argues that these qualifiers did "no work" because

       agents "could not know whether or not [Schulte's electronic information] 'related to the Subject


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Offenses' without reading it." (See Res. Br. 43). But the Second Circuit has realized that, in

searches for docwnents and records, "some innocuous documents will be examined, at least

cursorily, in order to determine whether they are, in fact, among those papers authorized to be

seized." United States v. Riley, 906 F.2d 841, 845 (2d Cir. 1990) (quoting Andresen v. Maryland,

427 U.S. 463, 482 n.11 (1976)). There is nothing overbroad about a search warrant that simply

permits agents to search records to see if they fit within the warrant's parameters.

       Second, Schulte argues that the portions of the 2017 Warrants that authorize the search and

seizure of evidence (i) required to access seized electronic media (e.g., login credentials or

passwords), (ii) that could facilitate a forensic examination of seized electronic (e.g., user

manuals), and (iii) about the access to, ownership, or control over seized media, were not limited

by reference to the Subject Offenses and thus were overbroad. (See Res. Br. 44). But Schulte' s

argument makes no sense. Subparagraphs 4 and 5 of Section III.A of the Covert Warrant, for

example, states that the FBI could seize electronic devices, storage media, and electronic forensic

evidence that was "used in furtherance of the Subject Offenses, containing evidence of the Subject

Offenses," or "relating to the Subject Offenses," or which pertained to the "occupancy and

ownership of' Schulte 's home, the identity and location of any co-conspirators, or the unauthorized

retention, gathering, or transmission of classified information.       Evidence described in the

categories in Section III.B would simply allow the FBI to access or determine the user of electronic

media that was seized because it had a connection to the Subject Offenses. That type of evidence

cannot logically be limited by reference to the Subject Offenses-it makes no sense, for example,

to say that a user manual or password relates to a Subject Offense. And similarly, evidence of

ownership cannot be cabined to the Subject Offenses-records showing that Schulte, for example,




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owned the Desktop Computer on which the child pornography was found is evidence, even if it,

does not, on its face, tie to a Subject Offense. These categories of evidence are particularized. 13

        Finally, Schulte argues that the 2017 Warrants lack particularity because they are not

confined to a date range. (Res. Br. 44-45). There is no law in this Circuit requiring a warrant to

include a temporal limitation. The cases Schulte cites in this regard relate to searches of business

records, not computer data, and in any event stand, at best, for the proposition that the Government

should include a temporal limitation "when possihle." United States v. Levy, 2013 WL 664712, at

*11 n.7 (S.D.N.Y. 2013). In United States v. Wey, 256 F. Supp. 3d 355,387 (S.D.N.Y. 2017), for

example, the court criticized the Government for not including a temporal limitation in the warrant

when the Government otherwise had identified relevant timeframes and dates of interest in the

supporting affidavit and indictment. Thus, the Wey court was concerned that the Government had

knowledge of appropriate temporal limitations, but did not include those limitations in the warrant.

Nonetheless, Wey was clear that a temporal limitation is not a "universal requirement" and instead

is a "circumstance-specific" consideration in evaluating the particularity of a warrant. Id. at 381.

       Here, unlike in Wey, at the time the Government submitted the Covert Warrant, mere days

after the March 7 Leak, the Government had not identified any facts suggesting that a limited

timeframe was appropriate and, indeed, the nature of the offense counseled otherwise. Although

Schulte argues that March 2016 would have heen appropriate, there is no reason to believe that

relevant evidence would not have existed from long before that. For example, the FBI did not



13
    Even if the contested categories were not sufficiently particularized, the remedy is not
suppression of all seized data, as Schulte requests, but rather severance of data collected pursuant
to the deficient categories. Indeed, "(w]hen a warrant is severable, the portion of the warrant that
is constitutionally infirm-usually for lack of particularity or probable cause------is separated from
the remainder and evidence seized pursuant to that portion is suppressed; evidence seized under
the valid portion may be admitted." Galpin, 720 F.3d at 448) (internal quotation marks omitted).
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know when, if at all, Schulte had first been in contact with or had developed an interest in

WikiLeaks, which was established in 2006, or whether Schulte had transmitted the information

through other intermediaries that he had known before. Moreover, as the Covert Affidavit made

clear, WikiLeaks stated that it had additional classified information that it intended to disclose,

and the FBI did not know if all of that information was disclosed as part of one incident or if the

illegal disclosures had occurred over years (particularly since Schulte had worked at the CIA since

2011). The same is true with respect to Schulte's disgruntlement-although Schulte's attitude

appeared to have changed in February 2016, the FBI did not know for how long Schulte's anger

had been simmering. Common sense dictates that trying to determine when and how a person

developed the willingness to betray the oath he took at the CIA and publicly disclose some of the

United States' most closely guarded secrets requires examining records over a long time period.

       Moreover, in considering the scope of the information sought, it is relevant that the Covert

Warrant was drafted just days after the initial Leak-one of the largest, if not the largest, disclosure

of CIA classified information-at a time when it seemed that other disclosures were imminent.

Bianco, 998 F.2d at 1115 (collecting cases in which "the government was under emergency

pressures that necessitated a broadly worded warrant"), abrogated on other grounds by Groh v.

Ramirez, 540 U.S. 551 (2004); Young, 745 F.2d at 759 (noting that courts tolerate a greater degree

of ambiguity where agents have done the best they reasonably could under the circumstances).

While the Government is not suggesting that a temporal limitation on a warrant would never be

appropriate in a national security case, the "circumstance-specific considerations" here weigh

against inclusion of a temporal limitation.      Wey, 256 F. Supp. 3d at 381.         Ultimately, the

Government "describe[d] the items to be seized with as much particularity as the circumstances

reasonably allow[ed]," Galpin, 720 F.3d at 446, which is what the law requires.

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IV.      THE EVIDENCE SEIZED PURSUANT TO THE MCC WARRANTS SHOULD
         NOT BE SUPPRESSED

         Schulte also moves to suppress certain evidence recovered from the MCC.              But his

  argument that suppression is appropriate because the FBI purportedly violated his attorney-client

  privilege misses the mark-as with all of the other warrants in this case, the FBI acted cautiously

  by, among other things, seeking authorization from the Court to use a wall team to screen out any

  privileged materials. Schulte's motion fails as a matter of law, and no hearing is required.

         A.      Relevant Facts

         On October 2, 2018, the Government applied for the MCC Premises Warrant, which sought

  authorization to search two units at the MCC (including the one in which Schulte was housed) and

  the MCC's law library (the "MCC Premises"). (Ex. F ,r 3). In the affidavit, the affiant, Agent

  Donaldson, first described the circumstances of Schulte' s detention at the MCC (including his theft

  of the Classified Information) (id. ,r,r 8(a)-(t)), and that Schulte was housed in the same unit as

  another inmate, Omar Amanat, who had been convicted of fraud offenses and who had fabricated

  evidence at trial (id. ,r,r 9 & 12). Agent Donaldson went on to state that, in or about April 2018,

  Schulte sent at least one of the 2017 Warrants to a reporter in violation of the Court's protective

  order, resulting in the Court's reprimand on May 21, 2018. (Id. ,r,r ll(a)-(d)). Finally, Agent

  Donaldson described information that the FBI had received from another inmate (the "CS"), who

  had informed the FBI that, among other things, Schulte and Amanat were using Contraband

  Cellphones in the MCC, and that the CS recalled at least one conversation over one of the

  Contraband Cellphones in which "Vault 7," the name for the 2017 WikiLeaks disclosures, had

  been discussed. (Id. ,r 13). The CS also provided the FBI with screenshots and videos of Schulte

  and Amanat using the Contraband Cellphones to, among other things, disseminate documents they

  had drafted. (Id. ,r 15). Based on this application, the Court authorized the search of the MCC
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Premises, including for the Contraband Cellphones and any documents and records pertaining to

the illegal gathering, retention, removal, and transmission of classified information, including in

particular nine "articles" Schulte had drafted (the "Schulte Articles"). (Id. ~ 6).

        On October 3, 2018, the FBI began to search the MCC Premises. During the search, MCC

officials gave the FBI documents from the cell Schulte iuhabited before his transfer to a secure

housing unit on October 1, 2018 (the "Schulte Cell Documents"), including loose files, as well as

several notebooks and notepads (the "Notebooks," one of which is attached as Classified Exhibit

M). The cover of each of the Notebooks was labeled with the words "ATTORNEY-CLIENT

PRIVILEGE." 14 Agent Donaldson and FBI Special Agent Evan Schlesinger flipped briefly

through the Schulte Cell Documents and confirmed that they appeared to contain handwritten text

potentially written by Schulte. The agents opened to a small subset of pages in each Notebook at

random, and made a cursory examination of the legible text on those pages. During that review,

the agents identified some writings that appeared to be potentially classified. The agents, however,

were not sure whether these documents fell within the ambit of the MCC Premises Warrant.

Among some of the loose files, the agents also saw, among other things, cover pages marked with

Trulincs, which the agents understood might relate to Schulte's defense.

       Based on these findings, the agents immediately informed the prosecutors about the

discovery of the Schulte Cell Documents. The prosecutors told the agents to stop reviewing the

Schulte Cell Documents until the prosecutors had given the FBI further instruction.             The


14
   Because the MCC searches were valid even if Schulte' s factual assertions were true, the
Government does not believe that a hearing is necessary. If the Court were, however, to hold a
hearing on the MCC searches, the Government anticipates that the agents would testify that they
do not recall seeing these notations on the covers of the Notebooks before they began to review
them. As noted above, however, the agents did see certain documents in the Schulte Cell
Documents that they believed might be potentially privileged (and therefore did not review), which
is one of the reasons they contacted the prosecutors.
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Government then sought the MCC Wall Warrant for authorization to search the Schulte Cell

Documents for evidence of the same crimes as those identified in the MCC Premises Warrant.

Because the agents had noticed potentially privileged documents, the Government sought

authorization to implement a wall review process for searching the Schulte Cell Documents.

       In the affidavit for the MCC Wall Warrant, Agent Donaldson stated that "before the search

began, MCC officials had removed the Schulte Cell Documents, among other things, from

Schulte's former cell and stored them in an official office at the MCC." (Ex. G ,r 6(a)). The

Schulte Cell Documents were "comprised of approximately 300 pages of material," which the FBI

agents "began to review" during the search of the MCC Premises. (Id. ,r 6(b)). During that initial

review, Agent Donaldson described how the agents had found, among other things, copies of the

Schulte Articles, an email account that was accessed from one of the Contraband Cellphones and

the password to that account (the "John Smith Document"), and a document purportedly authored

by an FBI agent (the "FBI Document") and intended for WikiLeaks, in which the author claimed

that Schulte was not responsible for the Leaks and that the FBI had planted child pornography on

Schulte's computer. (Id.). The agents also saw, however, some markings on the documents that

indicated that some of the documents "were potentially prepared to aid in Schulte's defense." (Id.

,r 6(c)). As a result, the Government sought to implement a wall review team (the "Wall Team"),
that would review the Schulte Cell Documents for any privileged material and then tum over any

non-privileged material to the FBI case agents to review. (Id. ,r 7). That review was to be

completed within 48 hours. (Id. ,r 8). The Court granted the Government's application.

       Within the prescribed time, the Wall Team reviewed the Schulte Cell Documents, redacted

material that the Wall Team had determined to be privileged, and provided the redacted versions

to the case team. The Wall Team also provided both redacted and unredacted copies of the Schulte

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Cell Documents to the defense. The Government also provided the redacted versions of the

Schulte Cell Documents to the CIA for a classification review. In reviewing the redacted versions

of the Schulte Cell Documents, the case team noted that, in addition to the John Smith Document

and the FBI Document, the Schulte Cell Documents also included among other things, (i)

information about social media (the "Social Media Accounts") and encrypted email accounts (the

"Encrypted Accounts") that Schulte had or intended to create, including passwords for those

accounts (see, e.g., Ex.Mat 113); (ii) a draft tweet that contained classified information and in

which Schulte purported to be one of his former CIA colleagues, who claimed that the CIA had

framed Schulte (the "Fake Tweet") (id. at 131-32); (iii) threats by Schulte to begin an "information

war" against the United States, during which he would disclose additional classified information,

unless he was released and paid restitution (id. at 97), (iv) Schulte's list of steps to destroy

evidence, including deleting "suspicious emails" from accounts he was using in prison (id. at 112-

13); (v) Schulte's notations to "DL Disc. UL WL," which the FBI understood to likely mean

downloading Schulte's discovery ("DL Disc.") and uploading it to WikiLeaks ("UL WL") and to

"schedule tweets" (id. at 148); (vi) notes about apparent segments of memory in a laptop where

data could be hidden-a laptop that the Government had given Schulte to review discovery (id. at

101); (vii) a note to "check Galaxy [i.e. the model of one of the Contraband Cellphones] for

Signal," an encrypted messaging application (id. at 140); and (ix) a loose "article" titled "Malware

of the Mind" (the "Malware Article," attached as Exhibit N) addressed to the technology

community, which contained classified information about Schulte's CIA training.

       Based in part on these findings, the Government applied for additional search warrants

including the Encrypted Email Warrant; the Social Media Warrant; and the Laptop Warrant. The

Court granted the Government's application for each of these Warrants. The searches conducted

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pursuant to these Warrants also uncovered significant evidence against Schulte, including an email

that he sent to a reporter in September 2018, in which Schulte claimed to be a third party speaking

on Schulte's behalf and attached a document that purportedly rebutted the probable cause in one

of the 2017 Warrants and contained classified information.

       B.      Applicable Law

               1.      Executiou ofa Search Warrant

       The Fourth Amendment does not require an authorizing court to approve the manner in

which a search will be conducted. Rather, "it is generally left to the discretion of the executing

officers to determine the details of how best to proceed with the perfonnance of a search authorized

by warrant." Dalia v. United States, 441 U.S. 238,257 (1979). Ultimately, "the Government's

review need only be reasonable, not perfect, and law enforcement is given significant latitude in

determining how to execute a warrant." United States v. Lumiere, No. 16 Cr. 483 (JSR), 2016 WL

7188149, at *6 n.9 (S.D.N.Y. Nov. 29, 2016).

       Inherent in the execution of a search is the review of items that may not ultimately fall

within the scope of the seizure. Andresen v. Maryland, 427 U.S. 463, 482 n.11 (1976) ("[I]t is

certain that some innocuous documents will be examined, at least cursorily, in order to determine

whether they are, in fact, among those papers authorized to be seized.").           "[T]he Fourth

Amendment is not violated because the officers executing the warrant must exercise some minimal

judgment as to whether a particular document falls within the described category [subject to

seizure]." United States v. Riley, 906 F.2d 841, 843-45 (2d Cir. 1990). Rather, "allowing some

latitude in this regard simply recognizes the reality that few people keep documents of their

criminal transactions in a folder marked ' [crime] records."' Id. at 845; see also United States v.

Alexander, 1993 WL 97407, at *7 (S.D.N.Y. 1993) (citing Riley for the proposition that "a warrant

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authorizing seizure of records of criminal activity allows officers some latitude to examine many

papers"); United States v. Milan-Colon, 1992 WL 236218, at *28 (S.D.N.Y. 1992) (same); see

also United States v. Triumph Capital Grp., Inc., 211 F.R.D. 31, 62-63 (D. Conn. 2002).

               2.      Attorney-Client Privilege and Search Warrants

       The burden to establish that information is privileged unequivocally rests with the

defendant. See United States v. Schwimmer, 892 F.2d 237, 244 (2d Cir. 1989). "To invoke the

attorney-client privilege, a party must demonstrate that there was: (!) a communication between

client and counsel, which (2) was intended to be and was in fact kept confidential, and (3) made

for the purpose of obtaining or providing legal advice." United States v. Constr. Prods. Research,

Inc., 73 F.3d 464, 473 (2d Cir. 1996). Thus, the privilege does not attach to communications

between two or more persons that do not enjoy an attorney-client relationship. Schwimmer, 892

F .2d at 243 ("The relationship of attorney and client, a communication by the client relating to the

subject matter upon which professional advice is sought, and the confidentiality of the expression

for which the protection is claimed, all must be established in order for the privilege to attach.").

Additionally, it is settled that even where an attorney-client relationship does exist, disclosure of

a privileged communication to a third party waives privilege as to that communication. See

Scha~fjler v. United States, 806 F.3d 34, 40 (2d Cir. 2015) (privilege "is generally waived by

voluntary disclosure of the [privileged) communication to another party").

       To protect against the disclosure of attorney-client material during the execution of a search

warrant, courts in this district have approved of a "common procedure" of designating a filter or

wall team. United States v. Ceglia, 2015 WL 1499194, at*! (S.D.N.Y. 2015); United States v.

Feng Ling Liu, 2014 WL 101672, at *11 (S.D.N.Y. 2014): see also Lumiere, 2016 WL 7188149,

at *7 n.10 (noting that the Government proposed using a '"wall' protocol if it becomes aware of

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privileged documents, ... which may well moot [the defendant's suppression motionJentirely."). 15

The Government's use of a wall team is evidence of the Government's good faith. See United

States v. Patel, 2017 WL 3394607, at *7 (S.D.N.Y. 2017) (the Government's use of a wall review

team after identifying potentially privileged documents "do[es) not evidence the sort of bad faith

or flagrant disregard of the warrant's limits that would justify the wholesale suppression of

evidence"); SEC v. Lek Secs. Corp., 2018 WL 417596, at *4 (S.D.N.Y. 2018) (stating that the

SEC' s use of a filter team "reflects respect for the privilege").

        Courts approve wall teams--even over a priori objections-because, among other reasons,

vital Government and public interests may otherwise be impinged. See, e.g., United States v.

Winters, 2006 WL 2789864, at *6 (S.D.N.Y. 2006) (adopting the Government's proposed use of

a '"wall Assistant"' because the defendant's proposal of in camera, ex parte review "though

perhaps more protective of the privilege, does not adequately account for society's interest in the

enforcement of its criminal law"); United States v. Grant, 2004 WL 1171258, at *2 (S.D.N.Y.

2017) ("Although some of these documents likely contain attorney-client privileged

communications, the Government should be allowed to make fully informed arguments as to

privilege if the public's strong interest in the investigation and prosecution of criminal conduct is

to be adequately protected."); Stewart, 2002 WL 1300059, at *5 ("[T)he [attorney-client) privilege


15
   Although certain decisions in this district have expressed some disapproval of the Government's
use of wall teams to screen for privileged material, see United States v. Kaplan, 2003 WL
22880914, at *4 n.4, * 12 (S.D.N.Y. 2003); United States v. Stewart, 2002 WL 1300059, at *6
(S.D.N.Y. 2002); In re Search Warrant for Law Offices Executed on March 19, 1992, 153 F.R.D.
55, 59 (S.D.N.Y.1994), none of those cases suggests that this practice necessitates the suppression
of evidence, see Kaplan, 2003 WL 22880914, at *11 ("[N]either Stewart nor In re Search Warrant
require this Court to employ methods beyond those already used to safeguard potentially privileged
materials from disclosure and review."); see also Hempstead Video, Inc. v. Inc. Vil. of Valley
Stream, 409 F.3d 127, 137 (2d Cir. 2005) ("[A] few district courts have drawn a tentative inference
that our Circuit may categorically reject the efficacy of isolation efforts as protection against taint .
. . . This would be a mistaken reading of our precedents.").
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is itself based in policy, rather than in the Constitution, and therefore it alone 'cannot stand in the

face of countervailing law or strong public policy and should be strictly confined within the

narrowest possible limits underlying its purpose."' (quoting United States v. Goldberger & Dubin,

P.C., 935 F.2d 501,504 (2d Cir. 1991)); see also United States v. Jnt'l Bhd. of Teamsters, 119 F.3d

210,214 (2d Cir.1997) ("[S]ince the attorney-client privilege stands in derogation of the public's

right to every man's evidence, it ought to be strictly confined within the narrowest possible limits

consistent with the logic of its principle." (ellipsis omitted)).

        Finally, even if law enforcement seizes privileged material alongside information

responsive to the warrant, it is well settled that the proper remedy is suppression of the privileged

material-not wholesale suppression of the entire search. See, e.g., Nat'/ City Trading Corp. v.

United States, 635 F.Zd 1020, 1026 (2d Cir. 1980) (in the context of a search of a law office

pursuant to a search warrant, "[t]o the extent that the files obtained here were privileged, the

remedy is suppression and return of the documents in question, not invalidation of the search"

(citation omitted)); Patel, 2017 WL 3394607, at *6 ("'The general remedy for violation of the

attorney-client privilege is to suppress introduction of the privileged information at trial,' not to

order wholesale suppression." (quoting Lumiere, 2016 WL 7188149, at *6)); Feng Ling Liu, 2014

WL 101672, at *11 (same); United States v. Chuang, 696 F. Supp. 910, 915 (S.D.N.Y. 1988)

(same); United States v. Giovanelli, 747 F. Supp. 891,894 (S.D.N.Y. 1989) (refusing to suppress

the entirety of a notebook seized by the Government where at least portions of the notebook were

properly seized). "[T]he drastic remedy of the suppression of all evidence seized is not justified

unless those executing the warrant acted in flagrant disregard of the warrant's terms." United

States v. Matias, 836 F.2d 744, 747-48 (2d Cir. 1988) (citing cases); see also Kaplan, 2003 WL

22880914, at *11 (suppressing evidence where law enforcement disregarded court-ordered

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procedures, including by allowing the case agent, rather than the wall-team prosecutors, to

determine if crime-fraud exception applied).

   C. Discussion

           1. The Notebooks Were Subject to Seizure

       Schulte's initial claim that the MCC Premises Warrant did not authorize seizure of the

Schulte Cell Documents, and in particular, the Notebooks, is entirely without merit. As described

above, the MCC Premises Warrant authorized the FBI to search for and seize, among other things,

evidence of the smuggling and use of the Contraband Cellphones and documents pertaining to the

unlawful retention, gathering, and transmission of classified information. See supra pp. 59-63.

The Notebooks contained such evidence, including the John Smith Document-which described

a covert email account Schulte was using-and the FBI Document-which is a false exculpatory

statement related to Schulte's prior illegal transmission of classified information. Id

       Moreover, to the extent there was any ambiguity in the reach of the MCC Premises

Warrant, the MCC Wall Warrant explicitly authorized the seizure of any documents, like the FBI

Document, that reflected an attempt to obstruct justice or the smuggling in of the Contraband

Cellphones or, as specified in the MCC Premises Warrant, evidence related to the unlawful

handling ofclassified information. (Ex. G, Att. A III.A(b)-(c)). And the subsequent review of the

Notebooks after the execution of the MCC Wall Warrant showed additional evidence subject to

seizure, including documents containing classified information, like the Fake Tweet and the

Malware Article; notes concerning the potential dissemination of Schulte's writings and discovery

through social media; notes concerning the use of the Encrypted Email Accounts that were

accessed from the Contraband Cellphones; and notes about an encrypted messaging application




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that Schulte wanted to download to one of the Contraband Cellphones. All of these plainly fell

within the ambit of the MCC Premises Warrant and the MCC Wall Warrant.

       The fact that some of the pages in the Notebooks may have contained irrelevant or

privileged information does not preclude the Notebooks' seizure, but instead means only that those

irrelevant or privileged parts may not be used against the defendant. See, e.g., Giovanelli, 747 F.

Supp. at 894 ("[i]f the notebook does contain other statements alleged to be within the scope of

Giovanelli's attorney-client privilege, and if the Govermnent seeks to introduce those statements

at trial, the court will determine at the proper time whether those statements may be correctly

received in evidence"). Nevertheless, to the extent a Notebook contained relevant evidence, the

entire Notebook was subject to seizure. The seizure of the entire document but use of only the

relevant portions of the document is standard. For example, the fact that a narcotics trafficker's

ledger may intermingle notations of innocent transactions with criminal ones does not mean that

the seizing agents must excise out the criminal transactions at the scene of the search and leave

behind the benign ones. Schulte's argument would require the Govermnent to essentially tear out

the relevant pages, thereby altering the original evidence. Indeed, following that approach would

likely lead defendants like Schulte to claim that the FBI had tampered with the evidence.

           2. The Government Did Not Act in Bad Faith by Confirming the Notebooks Were
              Subject to Seizure Before Seizing Them

       Schulte's assertion that his labeling of the notebooks as "Attorney-Client Privileged"

barred the executing agents from opening them and discovering that they were subject to seizure

is equally meritless. Any search of docmnents for evidence necessarily involves some review of

innocuous documents. See Riley, 906 F.2d at 845; see also Andresen, 427 U.S. at 482 n.11. Nor

were the agents required to take Schulte' s notation at face value, but could instead determine

whether the Notebooks had any information relevant to the MCC Premises Warrant. See, e.g.,
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Triumph Capital, 211 F .R.D. at 60--61 (executing agent "was not required to assume that document

and file names and suffixes accurately described their contents, and he acted reasonably in

manually reviewing documents and files to ascertain their relevance"). Given that the Notebooks

did have relevant information, see supra pp. 59-63, the FBI agents cannot be faulted for briefly

reviewing the Notebooks, contacting the prosecutors, and then seeking the MCC Wall Warrant.

       Schulte' s attempt to manufacture bad faith on the part of the FBI therefore fails completely.

The fact that the FBI and the Government sought to implement a wall team demons.trates that the

investigators were acting in good faith. See Patel, 2017 WL 3394607, at *7 (Government use of

wall review team was evidence of good faith); Lek, 2018 WL 417596, at *4 (same). Moreover,

contrary to Schulte's contention, the fact that the FBI and the Government sought the MCC Wall

Warrant despite the urgency of the search further bolsters their good faith. While Schulte claims

that there was no exigency, he ignores that, at the time of the MCC Premises search, the FBI knew

only that a former, disgruntled CIA employee with knowledge of the CIA's tools, methods,

sources, and operations, and charged with one of the largest leaks in the nation's history had

secretly smuggled into the MCC illegal cellphones and was using them to communicate over

encrypted email accounts about disseminating "articles" publicly, at least one of which contained

classified information. It was imperative that the FBI determine what Schulte had disclosed, so

that the Government could mitigate the damage. The fact that the Government nevertheless sought

the MCC Wall Warrant "reflects respect for the privilege." Lek, 2018 WL 417596, at *4.

       The urgency of the situation also defeats Schulte' s criticism of the wall procedure

ultimately implemented. Schulte claims that, like some other cases in this district, the appropriate

procedure would have been for the Wall Team to first turn the materials over to the defense team,

who could have objected and litigated the issue, before turning them over to the case team. The

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wall procedure in this case was blessed by the Court, however, and for good reason. The situation

presented by this case was unlike any of those Schulte cites. Here, the FBI was in the middle of

an urgent investigation to determine what classified information Schulte had disseminated.

Building in the back-and-forth between defense counsel and the Wall Team would inevitably have

slowed the investigation dramatically. Adopting instead the time-worn practice of having the Wall

Team screen the materials and turning them over to the case team properly balanced Schulte's

interests with those of the public.

        Schulte makes much of the fact that large portions of the Notebooks were redacted and that

there were Post-It notes on certain relevant pages, 16 arguing that this shows that the case agents

did a searching review of the Notebooks before obtaining the MCC Wall Warrant. His factual

assertions are false, but even on its face Schulte's argument is inconsistent with the fact that the

MCC Wall Warrant was sworn out on the same day as the search of the MCC Premises. If, as

Schulte claims, the FBI had been willing to do a penetrating analysis of Schulte's privileged

materials, then it makes no sense that the FBI agents alerted the Government to the potentially

privileged material so quickly. Instead, the agents could simply have waited, reviewing the

information at their leisure, and contacted the prosecutors days or weeks later, after the agents had

time to dissect Schulte's privileged material. The fact that the agents contacted the prosecutors

that very day shows that what really happened was that they did a cursory review of the Notebooks,

skimming to see if material appeared responsive or privileged. That is entirely consistent with the



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  The Government notes that, as the Wall attorney conveyed to defense counsel, the Wall Team
flagged portions of the Notebooks that appeared to have privileged or responsive material with
Post-Its. The agents who were involved in the initial review of the Notebooks at the MCC, on the
other hand, did not use Post-Its. In addition, while Schulte makes much of the volume of
redactions, out of an abundance of caution, the Wall attorney redacted material that, though not
privileged, appeared to be non-responsive on its face.
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agents' responsibility not only to be mindful of Schulte's privilege, but also their "duty to protect

from disclosure sensitive information that could compromise national security." United States v.

Hashmi, 621 F. Supp. 2d 76, 80 (S.D.N.Y. 2008).

       3.      Evidence From the MCC Warrants Shonld Not Be Suppressed Because the
               FBI Allegedly Seized Privileged Information

       Schulte also claims that the Wall Team failed to redact a substantial amount of privileged

information, but he musters few examples in his motion. Schulte' s claim that the Notebooks

continue to contain a significant amount of privileged information is highly dubious, given that,

despite having received the Notebooks in discovery several months ago, Schulte has never

contacted the Wall Team to ask that additional portions of the Notebooks be clawed back and

redacted. That is even true for the Malware Article, which the Government specifically identified

to the defense as being one of the bases for the most recent espionage charge on April 29, 2019.

Schulte' s decision to sit on his hands in the face of that disclosure and instead now seek

suppression based on that same information suggests that his motion is simply gamesmanship.

       Indeed, the Malware Article was, by its own terms, intended to encourage members of the

technological community to come to Schulte' s aid. The fact that this "article" was intended to be

transmitted to third parties defeats any claim of privilege. See Schaeffler, 806 F.3d at 40; In re

Grand Jury Proceedings, 2001 WL I 167497, at *7 (S.D.N.Y. 2001) ("Excluded from the attorney-

client privilege are communications that were intended to be passed on to a third party."). That is

true even if that information was shared with an attorney, as Schulte claims. In re Grand Jury

Proceedings, 2001 WL 1167497, at *7 ("Indeed, although communications between a client and




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an attorney may have been made privately, they are not privileged if the information was intended

to be passed on to third parties.").

        Moreover, even though Schulte points to some arguably privileged information that was

improperly released (none of which the Government intends to introduce at trial), like Guidelines

calculations or notes on search warrants (see MCC Br. 16), the remedy is suppression of those

specific privileged items, not blanket suppression. See Nat 'l City Trading Corp., 635 F .2d at 1026;

Patel, 2017 WL 3394607, at *6 ("The general remedy for violation of the attorney-client privilege

is to suppress introduction of the privileged information at trial, not to order wholesale

suppression."). Blanket suppression is particularly inappropriate given that the agents plainly

acted in good faith by stopping their search upon discovering potentially privileged information

and seeking the MCC Wall Warrant. Matias, 836 F .2d at 74 7 (blanket suppression "is not justified

unless those executing the warrant acted in flagrant disregard of the warrant's terms.").

        Schulte' s argument for suppression of evidence seized pursuant to the subsequent

Encrypted Account, Social Media, and Laptop Warrants is equally meritless. He claims that

without the information in the Notebooks, the FBI would not have sought these Warrants. As

described above, the FBI properly seized the Notebooks pursuant to the MCC Premises Warrant.

See supra pp. 59-63. Thus, the only way suppression would be warranted is if the subsequent

MCC Warrants relied on privileged information in the Notebooks, which Schulte cannot show.

The fact that Schulte maintained encrypted email accounts with certain passwords to communicate

with reporters and other outsiders, or noted locations on the Laptop where he could hide data, is

unrelated to a request for legitimate legal advice. See Constr. Prods. Research, 73 F .3d at 4 73

(privileged communications must pertain to a request for legal advice). Similarly, the fact that




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     Schulte had declared an "information war" against the United States and intended to disclose

     additional classified information (i.e., commit another crime) is not privileged.

            Moreover, Schulte claims that the FBI read his thoughts on severance (which the

     Government has consented to) or a plea offer (which the Government has not made), but none of

     those "thoughts" are referenced in any subsequent search warrant. Indeed, Schulte' s entire request

     for a hearing is premised on his speculation that there were investigative steps taken that extended

     beyond investigating the Contraband Cellphones, the Encrypted Accounts, the Social Media

     Accounts, or the Laptop. There were not. Schulte' s motion for suppression should be denied.

V.          THE GOOD FAITH EXCEPTION APPLIES

            Even if a warrant is defective, the seized evidence may still be admitted under certain

     circumstances, including the good faith exception. The Supreme Court, in United States v. Leon,

     468 U.S. 897 (1984), held that the exclusionary rule "does not apply to evidence seized 'in

     objectively reasonable reliance on' a warrant issued by a detached and neutral magistrate judge,

     even where the warrant is subsequently deemed invalid." United States v. Falso, 544 F.3d 110,

     125 (2d Cir. 2008) (quoting Leon, 468 U.S. at 922). The Leon Court explained that, "assuming

 that the [exclusionary] rule effectively deters some police misconduct and provides incentives for

 the law enforcement profession as a whole to conduct itself in accord with the Fourth Amendment,

 it cannot be expected, and should not be applied, to deter objectively reasonable law enforcement."

 Leon, 468 U.S. at 919. The Supreme Court has made clear that "the exclusionary rule is not an

 individual right and applies only where it results in appreciable deterrence." Herring v. United

 States, 555 U.S. 135, 141 (2009) (internal quotation marks and brackets omitted).

            Under the good faith exception, evidence seized pursuant to an invalid search warrant will

 be suppressed only if (i) the issuing judge was knowingly misled; (ii) the issuing judge wholly

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 abandoned his or her judicial role; (iii) the application was so lacking in indicia of probable cause

as to render reliance upon it unreasonable; or (iv) the warrant is so facially deficient that reliance

upon it is unreasonable. Falso, 544 F.3d at 125. The central question is "whether a reasonably

well trained officer would have known that the search was illegal despite the magistrate's

authorization." Leon, 468 U.S. at 922 n.23. If the court finds that the officer's reliance on the

warrant was objectively reasonable, suppression is not warranted. Id. at 922; Davis v. United

States, 564 U.S. 229, 238 (2011 ). To trigger the exclusionary rule, law enforcement "conduct must

be sufficiently deliberate that exclusion can meaningfully deter it, and sufficiently culpable that

such deterrence is worth the price paid by the justice system." Herring, 555 U.S. at 144.

        In this case, even if the Court does determine that any of the Challenged Warrants are

deficient, then the evidence seized pursuant to that warrant or warrants still should not be

suppressed. A magistrate judge signed each of the Challenged Warrants, which is "the clearest

indication that the officers acted in an objectively reasonable manner or, as we have sometimes

put it, in 'objective good faith."' Messerschmidtv. Millender, 565 U.S. 535,546 (2012) (quoting

Leon, 468 U.S. at 922-23). Moreover, none of the exceptions that typically preclude application

of the good faith doctrine applies here. As discussed above, with respect to each of the Challenged

Warrants, there is no credible evidence that any of the affiants "knowingly misled" the magistrate

judge. See supra pp. 31-33, 45-48. The Challenged Warrants also contain ample probable cause,

even correcting any alleged misrepresentations or omissions, see supra pp. 20-31, 41-45, and it

cannot be said that the magistrate judges who authorized these searches "wholly abandoned their

judicial role."   Finally, the Challenged Warrants carefully articulated tailored categories of

evidence to be searched for and seized and thus cannot be facially invalid. See Levy, 2013 WL

664712, at *IO ("The Search Warrant here, however, cannot be said to be 'so facially deficient' as

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to preclude reasonable reliance where it expressly provided that the officers were authorized to

seize ' [e]vidence, fruits, and instrumentalities of violations of [particular statutes]."').

        Finally, with respect to Schulte' s arguments about the lack of a temporal requirement, law

enforcement agents certainly cannot be expected to adopt a particularity requirement that has not

been imposed by the Second Circuit, even if some district courts have found such a consideration

relevant to evaluating the parameters of a particular warrant. See, e.g., Levy, 2013 WL 664712, at

* 10 ("The Court need not resolve whether the lack of a time limit renders the Search Warrant

unconstitutional because the continuing uncertainty in this Circuit regarding this issue triggers the

good-faith exception to the exclusionary rule."). Schulte' s suppression motions thus should be

denied even if the Court finds a deficiency in any of the Challenged Warrants.

                                           CONCLUSION

        Accordingly, the Government respectfully requests that the Court deny Schulte's

suppression motions without a hearing.

Dated: New York, New York
       August 2, 2019                                    Respectfully submitted,

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